        FILED IN
4th COURT OF APPEALS
    SAN ANTONIO, TX
      April 20, 2015
    KEITH E. HOTTLE
CLERK OF THE COURT
                    APPENDIX


A. FINAL JUDGMENT AND JURY CHARGE
B. TEX. CIV. PRAC. &amp; REM. CODE §10.001(2)
C. FIINACIAL RECORDS TABULATION




                         32
EXHIBIT A
                                                                                        2~13CI~~~55   -0037




                                               NO. 2013-Cl-18355

        HELVETJA ASSET RECOVERY, INC.                    §           IN THE DISTRICT COURT
                                                         §
               Plaintiff,                                §
                                                         §
        v.                                               §           BEXAR COUNTY, TEXAS
                                                         §
        BURTON KAHN and                                  §
        PARADIV CORPORATION,                             §
                                                         §           37
             · DefendanJs.                               §           4Wth   JUDICIAL DISTRICT


                                              FINAL JUDGMENT

               On May 12, 2014; the Court called this case for trial. Plaintiff Helvetia Asset Recovery,

        Jnc. appeared through its attorneys and annou·nced ready for trial. Defendant Burton Kahn

        appeared in person pro se and -announced ready for trial. Defendant Paradiv Corporation did not

        appear except through Its director and officer, Burton Kahn, who is not licensed to practice law

        in this state. The Court then empanelled and swore a jury consisting of twelve qualified jurors,

        and the case proceeded to trial. At the close of the evidence, the Court submitted questions,

        definitions, and instructions to the jury. On May 21, 2014, the jury returned its verdict. The
m
fl.-,   Charge of the Court and the jury's verdict are attached hereto and are incorporated herein by
!
l
i       reference. This Final Judgment expressly incorporates all findings of the jury for all purposes.
I
2              The jury's verdict was received, filed and entered of record.         Plaintiff moved for
~I
J
 il     judgment on the verdict, and the Court, having considered ·the pleadings, the evidence, the jury

v       verdict, and the applicable law, hereby renders Final Judgment on the verdict (the "Judgment")
0
L       as follows:
4
 ~
               Jt is ORDERED and DECREED that Plaintiff is declared the owner of the funds in the

 9      registry of the Court that were deposited by Defendants pursuant to the Temporary Injunction
 p
 c;
 8
 8      FINAL JUDGMENT

5
previously entered herein, and that totaled, at the time of disbursement, the amount· of
                                                                                         /

$291,453.6 I.

        It is further ORDERED that Plaintiff recover from Defendants Burton Kahn and Paradiv

Corporation the sum of $854, I 66 in actual damages, plus pre-judgment interest from November

4, 2013, at the rate of $117.0 I per day until the day before this Judgment is signed.

        It is further ORDERED that Defendants receive a credit for sums Plaintiff received from

the registry of the Court in the amount of$291 ,453.6 1, said credit to be applied against the actual

damages and accrued interest as of the date the Judgment is signed. ·

        It is further ORDERED that Plaintiff recover from Defendant Burton Kahn exemplary

damages in the sum of$900,000.

        It is further ORDERED and DECREED that Plaintiff recover its reasonable attorneys'

fees as allowed by the Texas Declaratory Judgment Act and pursuant to Chapter 12 of the Texas

Civil Practice &amp; Remedies Code,§ 12.002(b)(3).

        It is further ORDERED that Plaintiff recover from Defendants Burton Kahn and Paradiv

Corporation attorneys' fees in the sum of $280,000. In the event of an appeal to the court of

appeals, Plaintiff, if successful, shaH recover an additional $20,000 in fees, and, if another appeal

is sought; Plaintiff shall recover another $10,000 in fees.

        It is further ORDERED that Plaintiff recover all costs of court.

        It is further ORDERED that Plaintiff recover on all amounts awarded herein post-

judgment interest at the highest lawful rate allowed by law as of the date of this Judgment until

paid.

        Jt is further ORDERED that all amounts awarded herein, other than exemplary damages,

are jointly and severally owed by Defendants Burton Kahn and Paradiv Corporation.




FlNAL JUDGMENT                                                                                 Page2
         lt is further ORDERED that Burton Kahn deliver and deposit into the registry of this

Court within the next 30 days any sums that he was previously ordered to deposit into the

registry of the Court and did not.

         It is further ORDERED that Burton Kahn be and he is permanently enjoined from

conducting business in the name of the Plaintiff or in any way interfering with Plaintiff's

business activities, including but not limited to Plaintiff's sales of lots in the Key Largo

subdivision, based on any fact or circumstance that exists as of the date this Judgment is entered

or which has ever existed in the past.

         It is further ORDERED that all writs and processes necessary or appropriate for the

enforcement or collection of this Judgment or the costs of court may issue as necessary.

        All relief requested in this case and not expressly granted is denied. This Judgment

finally disposes of all claims and all parties and is an appealable Final Judgment.



        SIGNED this//     dayof~2014.



D-2273499_2




FINAL JUDGMENT                                                                              Pagel
EXHIBIT A
                                                                                                    1111 ff:~~~-11111.
                                                                                                  \. .   201JC!t8335 -P00l91
                                                                                                         . .. .   ·~   .            .. .   -   ··'

                                                                 CAUSE NO. 2013-Cl-18355

              HELVETIA ASSET RECOVERY. JNC••                                             IN THE DISTRICT COURT
                           Plaintiff,

              v.                                                                         BEXAR COUNTY, TEXAS

             BURTON KAHN and
            "PARADIV CORPORATION,                                             §
                           Defendants.                                        §.         407TH JUDICIAL DISTRICT


                                                                     JURY CHARGE

             LADIES AND GENTLEMEN OF THE JURY:

                    After the cJosing arguments, you wiH go lo the jury room to decide the case 1 answer ·the
             questions that are attached, and reach a verdict. You may.discuss the case with other jurors on Jy
             when you are all together in the jury room.

                           Remember my previous instructions:

             Do not dis&lt;:uss the case with anyone else, either in person or by any other means.

             Do not do any independent investigation about the case or conduct any research.

              Do not look up any words in dictionaries or on the Internet

             Do not post infonnalion about the case on the Internet.
q      '
E1           Do not share any special knowledge or experiences with the other jurors.
/



'
             Do not use your phone or any other electronic devfoe during your deliberations for any reason.
/
~,
                           Here arc the instructions for answering the qu~tions:
(. ,
(I
J                          J.         Do not let bias, prejudice or sympathy play any part in your decision.
~i
                    • 2. · Base your answers only on the evidence admitted in court and on the law that is in
v
0
             tbese instructions and questions. Do not consider or discuss any evidence that was not admitted
I-           in the ~zm ~As ~
4             "'?!!' 3.               Ya\.il~J33 rJ lJl~lSIO                 n
                   '\/ (        ).~~iii)!~~ W&gt;I VHNOO
G                               .       Cl~lJ .I    '    •   ~
             lURYCHARGE                  ...)\ ~-                                                                          Page I
0                                                                             Document
8                                                                          scanned as filed.
~
               4.      If jnstructions use a word in a way that is different from its ordjnary meaning, use
        the meaning I give you, which will be a proper legal definition.

               5.      All the.questions and answers are important. No one should say that any question
        or answer is not important.

                6.     Answer "Yes" or "No" to all questions unless you are told otherwise. A ''Yes"
        answer must be based on a preponderance of the evidence (unless you are told otherwise).
        Whenever a question requires an answer other than "Yes" or ''No," your answer must be based
        on a preponderance of the evidence (unless you are told otherwise).

               The term ''preponderance of the evidence" means the greater weight of credible evidence
        presented in this case. If you do not find a preponderance of the evidence supports a "Yes"
        answer, then answer "No." A preponderance of the evidence is not measured by the number of
        witnesses or by the number of documents admitted in ·eviden~. For a fact to be proved by a
        preponderance of the evidence. you must find that the fact is more likely true than not true.

                7.    Do not decide who you think should win before you answer the questions and
        then just answer the questions to match your decision. Answer each question carefully without
        considering who will win. Do not discuss or consider the effect your answers will have.

               8.      Do not answer questions by drawing straws or by any method of chance,

               9. . Some questions might ask you for a dollar amount. Do not agree in advance to
        decide on a dollar amount by adding up each juror's amount and then figuring the average.

                10.    Do not trade your answers. For examp1e, do not say, "I wiU answer this question
        your way if you answer another question my way."

()              l 1.   The answers to the questions must be based on the decision of at least ten of the
g       twelve jurors. The same ten jurors must agree on every answer. Do not agree to be bound by a
        vote of anything less than ten jurors, even if it would be a majority.
i")'
               As J have said before, if you do not follow these instructions, you will be guilty of juror
/·~     misconduct, and I might have to order a new trial and start this process over again. This will
        waste your time and the parties' money, and would require the taxpayers of thjs county to pay for
9.,!~   another trial If a juror breaks any of these rules, tell that person to stop and report it to me
        immediateJy.
v
0
L
4
 2
 7.
 ~~
 g
 p
 Cl
        JURY C!iAROE                                                                               Page2
                                             •   I




                                                     Presiding Jui-or

1.      When you go into the jury room to answer the questions, the first thing you wiJl need tO
do is choose a Presiding Juror.

2.             The Presiding Juror has these duties:

                  a. Have the complete charge read aloud if it will be helpful to your deliberations;

                  b. Preside over your deliberations, meaning manage the discussions and see that you
                     follow these instructions;

                  c. Give written questions or comments to the bailiff who will give them to the judge;

                  ·d. Write down the answers you agree on;

                  e. Get the signatures for the verdict certificate, and

                  f.   Notify the baiHffthat you have reached a verdict.

               Do you understand the duties ofthe Presiding Juror? If you do not, please telJ me now.

                               Instructions for Signing the Verdict Certificate

     1. You may answer the questions on a vote of ten jurors. The same ten jurors must agree on
        every answer in the charge. Th.is means you may not have one group oftenjurors agree
        on one answer and a different group of ten jurors agree on another answer.

     2. If ten jurors agree on every answer, those ten jurors sign the verdict.

     3. If eleven jurors agree on every answer, those eleven jurors sign the verdict.

     4. lf all twelve of you agree on every answer, you are unanimous and only the Presiding
        Juror signs the verdict.

     5. All jurors should deliberate on every question. You may end up with all twelve of you
        agreeing on some answers, while only ten or eleven of you agree on other answers. But
        when you sign the verdict, only those ten who agree on every answer will sign the
        verdict.

Do you understand these instructions?. If you do not, please tell me now.


                                                               ~f:1.,,7c
                                                              ~OGE PRESIDING


      ·'
           '
JURY CHARGE                                                                                       Page 3
                                . ·'




                                                     DEFINITIONS

                 You are instructed to use the following definitions' when the defined words appear in

      specific questions or instructions.

                 I.       "Helvetia" refers to the Plaintiff Helvetia Asset Recovery; Inc.

                 2.       "Puerto Verde" refers to Helvetia's sole sharehokler, which is in   ~   wholly

                          owned by Robert llipley,
               -'&lt;4! ~
        3.      ~         ••Kahn" refers to Defendant Burton Kahn.
               ME:'. "I
        I.(.   ~          "Paradiv" refers to Defendant Paradiv Corporation

                 5.       The "Rule 11 Agreement" refers to the document titled "Rule 11 Agreement" and

                 dated November 15, 2013. Tue Rule 11 Agreement is part of the evidence admitted by

                the Court and is JabeJed Plaintiff's Ex. 35.




1!1
6
j
t2
t)

~J
v
0
L




      JUR'Y CHARO£                                                                                Page4
                                       QUESTION NO. l

Did Kahn fail to comply with his fiduciary duty to Helvetia?

       You are instructed that Kahn owed a fiduciary duty to Helvetia to conduct its
       affairs in the best interest of its sole shareholder, Puerto Verde, which was wholly
       owned by Robert rupley.

       Fwther, Kahn was obligated to place Helvetia;s ]nterests ahead of his own and not
       to use his position for his personal gain at the expense of Helvetia.

       Further, a fiduciary owes a duty of utmost loyalty, honesty, good faith and fairness.

        Further; when one enters into a fiduciary relationship, he consents as a matter of law to
      · bave his conduct measured by higher ethical standards than the standards that apply to
        parties who are not in a fiduciary relationship.



Answer "Yes" or "No'.':




JURVCHARGI;                                                                                   Pages
                                            QUESTION NO. 2

    If you answered "Y~" to Question No. I, then answer the following question. Otherwise, do not
    answer the followjng question.




    What sum of money, if any, if paid now in cash, would fairly and reasonably compensate
    Helvetia for its damages, if any, that were proximately caused by the conduct you found in
    answer to Question No. l?                                           ·


    Answer in dollars and cents, if any:

            1.     Misappropriation, if any, of assets:      $   'ltl   16&amp;&gt;
           2.      Lost profits, if any:                     $   )3~ OOD




v
0
L
4

i
    JURYCHAAOE                                                                            Page6
                             -   .,   .                                     I. .




                                              QUESTION NO. 3

        ls Kahn responsible for the conduct of Paradiv Corporation?

                You are instructed that Kahn is responsible for the conduct of Para.div if Kahn used
                Paradiv as a means of perpetrating a fraud for the direct personal benefit of Kahn.

                       "Fraud" in this context means the breach of some legal or equitable duty,
                       such as a fiduciary duty.


        Answer "Yes" or "No;"




~1
j
/
·")


0"·
a
v
0
L
...4,
~
9
p
G
        JURY CHAR.GE                                                                               Page7
                                       . ... .




                                         QUESTION NO. 4

    Did Kahn hold money which, in equity and good conscience, belonged to Helvetia?


    Answer "Y.es" or "No:"      -1ft. ~
                                  . .... ,____




    JURY CHARGE                                                                       Page 8
g
4
l
                                              .   I   .




                                                      QUESTION NO. 5

           If you answered "Yes" to Question No.4, then answer the following 'question. Otherwise, do not
           answer the following question.




           What sum of money, if any, do you find that Kahn held that belonged to Helvetia?


                  Answer in dollars and cents, if any.


                  Amow1t:




G)
6
/
~I
/

~4
v
0
L
4
2
~
p
     ,
........
           lURYCHAROF.
                               ,.
                                                                                                  Page 9
8
 ~
 2
                   .   I                                                                .. .   ·.   ·... .. .




                                           QUESTlONNO. 6

Did Kahn slander Helvetia's title to lots in the "Key Largo" subdivision?

       You are instructed that slander of title means a person acted deliberately and
       without reasonable cause to publish false and disparaging words about Helvetia's
       title to the "Key Largo•• subdivision lots, thereby causing a specific loss of a sale
       or sales.


Answer "Yes" or "No:"           \£.&gt;
                              -Jff2'+&lt;"'::;....._--




JURY CHARGE                                                                                Page 10
         ..... ...




                                                            QUESTION.NO. 7

                     If you an8wered "Yes" to Question No. 6, then answer the following question. Otherwise, do not
                     answer the following question.




                     What damages, if any, do you find were caused by Kahn's slander ofHelvetia's title to the "Key
                     Largo" subdivision lots?

                            You are instructed that the amount of damages, if any, to be awarded should be
                            those damages which would compensate Helvetia for the .loss of any sale(s)
                            suffered as a result of the slander of title.

                                    Answer in dollars and cents, if any.


                            Amount:          l'?~f;t;Q
                                           $ r s




8
Ei
/

t
fl
l
4
v
0
L
....4,
t.
3
9
~I
G
                     JURY· CHARGE                                                                          Page 11
G
8
a
                                                                                          •   I




                                                QUESTION NO. 8

        Did Kahn file a fraudulent court record or claim against real property owned by Helvetia?

               You arc instructed that a fraudulent court record or claim means it was filed:

                   (1) with knowJedge that it was fraudulent,

                   (2) wi1h the intent that it be given legal effect as a court record or document

                       evidencing a valid claim or interest in real property, and

                   (3) with the intent to cause physical injury, financial injury. or mental anguish

                       or emotional distress.



        Answer"Yes" ot "No:"           fe2



~t,1·
J
7
I
al2
 ll




        JURY CHARGE                                                                                Page 12
                                             QUESTION NO. 9

      If you answered nYes" to Question No. 8, then answer the following question. Otherwise, do not
      answer the following questiofl.



      What damages, if any, do you find were caused by Kahn's filing of a fraudulent court record or
      claim against property owned by Helvetia?


             Answer in dollars and cents, if any.


             Amount:




q
.8
/


'
/
2
()

.~i
v
0
L
4
~i
/..
3
9
p
G
      JURY CHARGE                                                                           Page I3
I]
8
4
6
                                          QUESTlON NQ. 10

    Answer the following only if you unanimously answered "Yes" to Question No. 1 or Question
    No.3_




    Do you find by clear and convincing evidence that Kahn committed the conduct you found in
    answer to Question No. 1 or Question No. 3 either maliciously, fraudulently or through gross
    neglect?

           To answer "Yes'' to this question your answer must be unanimous. You may
           answer "No" if ten or more of you answer "No." Otherwise, do not answer the
           question at al 1.

           You are instructed that "clear and canvincing evidence" means the degree of
           proof that produces a firm belief or conviction of the truth of the allegations
           sought to be established.                                    ·

           "Malic.e" means a specific intent by a person to cause substantial injury or harm to
           HeJvetia.


    Answer "Yes" or "No: 1'




p
G
    JURY CHAROE                                                                               Page 14
8
8
4
7
                                            QUESTION NO. l 1

     Answer the following question only if you unanimously answered "Yes" to Question No. 10.
     Otherwise do not answer the following question.

     You are instructed that the answer for this question must be unanimous. Otherwise, do not
     answer this question.


     What sum of money, if any, do you find by clear and convincing evidence, if paid now in cash,
     should be awarded to Helvetia as exemplary damages. if any.

            You are instructed that "exemplary damages» means an amount that you may in
            your discretion award as a penalty by way of punishment.

            Factors to be considered in awarding exemplary damages, if any, are:

                   (I) the nature of the wrong;

                   (2) the character of the conduct involved;

                   (3) the degree of culpabillty;

                   (4) the situation and sensitivities of tile parties concerned;

                   (S) the extent to which such conduct offeods the public sense of justice
                   and Jlropriety;

                   (6) the Defendant's net worth.
Cl          Answer in dollars and cents, if any.
t3
/
~I          Amount:
l

~l
4
v
e
~9
p
G
     JURY CHARGE                                                                          Page 15

~
4
8
                      .   I                                                                          .   I




                                           Q_UESTION NO. 12
                                                                           ~
     Answer the following question only if you unanimously answered "'Yes" to Question No. 11.
     Othetwise do not answer the following question.

     You are instructed that the answer for this question must be unanimous. Otherwise, do not
     answer this question.



     Do you find, by dear and convincing evidence, that Kahn conunitted theft, if any, of property
     valued at $20,000 or greater?                                     ·

            You are instructed that "theft" means that a person unlawfully appropriates
            property with the intent to deprive the owner of the property. Appropriating
            property is unlawful if it is without the owner's effective consent.
                   A person acts with intent with respect to the nature of his conduct
                   or to a result of his conduct when it is the conscious objective or
                   desire to engage in the conduct or cause the result.
                   ''Deprive" means to withhold property from the owner
                   permanent! y or for so extended a period of time .that a major
                   portion of the vallle or enjoyment of the property is lost to the
                   owner.
                   "'Owner" means one who has title to the property, possession of the
                   property, whether lawfuJ or not, or a greater right to possession of
                   the property than Kahn or Paradiv.
                   "Property" means: (a) real property; (b) tangible or intangible
                   personal property, including anything severed from land; or (c) a
                   document, including money, that represents or embodies anything
                   ofvalue.
                   "Consent" means assent in fact, whether express or implied.
                   "Effective consent" includes consent by a person legally
                   authorized to act for the O\mer. Consent is not effective if induced
                   by deception or coercion.


     Answer "Yes" or "No:"


4
2
3
~~
p
G
     JURY CHARGE                                                                          Page 16
0
8
4
~'
                                                                                     ·.,·.




                                                  QUESTION NO. 13.
                                                                                   ,!&lt;   ~   ,.,,_

         Answer the following question only if you unanimously answered "Y-esl' t&lt;' Question No. 11,
         Otherwise do not answer the following question.

         You are instructed that the answer for this question must be unanimous. Otherwise, do not
         answer this question.



         Do you find, by clear and convincing evidence; that Kahn:

                 A. intentionally misapplied the following owned by Helvetia in a manner that involved.

                     substanlial risk of Joss to Helvetia:

                         a. money, or

                         b. lots in the "Key Largo" subdivision; and

                 B. that the value of the money or lots was $ 1,500 or greater?


                         You are instructed that "misapply" means a person deals with
                         property or money contrary to an agreement under which the
                         person hol&lt;:Uthe property or money.
                                ""(I{
                         Also; "substantial risk of Joss» means it is more likely than not that
                         loss wm occur.

                         A person acts with intent with respect to the nature of his conduct
                         or to a result of his conduct when it is the conscious objective or
                         desire to engage in the conduct or cause the result.



         Answer ..Yes" .or "No:..,      ~-+t;6~~--




         JURY CliAR.OE                                                                               Page !7
0
   ,
....~·
r·)
Cl
                                             QUESTION NO. 14

    What is a reasonable fee for the necessary services of Helvetia's attorneys in this case?

    In determining a reasonable and necessary fee you may consider the following factors:

                • the time and labor involved;
                • the novelty and difficulty of the questions involved;
                • the skiJJ required to perform the legal services properly;
                • the likelihood that the acceptance of the particular employment will preclude
                  other employment by the lawyer;
                • the fee customarily charged in the locality for similar legal services;
                • the amount involved and the results obtained;
                • the time limitations imposed by the client or the circumstances;
                • the nature and length of the professional relationship with the client
                • the experience, reputation, and ability of the lawyer or lawyers performing the
                        services; and
                •       whether the fee is fixed or contingent on results obtained or uncertainty of
                        collection before the legal services have been rendered.


    Answer with an amount for each of the following:

        a. For preparation and trial:                            Answer:.       s   Jfl). D_QO
                                                                                           I

        b. For an appeal to the Court of Appeals:                Answer:        $   .zqooo
        c. For an appeal to the Supreme Court of Texas:          Answer:        $   lD., O{)J)




    JuRv Cf-lAROc   .                                                                           Page 18
g
5
l
                                                               , •   I




                                        VERDICT CERTIFICATE
      'Check one;
          7    Our verdict is unanimous. All twelve of us hav
       presiding juror has signed the certificate for a 1¥ ~
                                                                         reed
                                                                           lo each and every an;wer. The
                                                                         'VL .

      ---     Our verdict is not unanimous.
      have signed the certificate below.
                                                            us have agreed to each and every answer and



      ___ Our \•erdict is not unanimous. Ten of us have agreed to each and every answer and have
      signed the certificate below.


      Signature                                              Name Printed




                                                       -J\·9·
                                              AHlrJ30
                                      I 0 :z Wd I Z H1'i ; ~
                                         A1Nn03 HVX3B
                                        &gt;fijJl~ 1an.u-s10
      J\JR Y CH/IRGE                 A3HNl'&gt;f51-/ A\f~lf"fiNOa: ··                              Page 19
0                                             0311J. ~
                                                   I   •
8
5
~t
t..                                                 Document
                                               : scanned as filed.          .. J
EXHIBITB
                                            Texas Statutes

0     Texas Statutes
CJ    CIVIL PRACTICE AND REMEDIES CODE
Ll    TITLE 2. TRIAL, JUDGMENT, AND APPEAL
CJ    SUBTITLE A. GENERAL PROVISIONS
Ll    CHAPTER 10. SANCTIONS FOR FRIVOLOUS PLEADINGS AND MOTIONS


§    10.001 CIV. PRAC. &amp; REM. Signing of Pleadings and Motions

    The s i gn i ng o f a pl ead i ng or moti on as requ i red by t he Texas Rules o f
Ci v il Procedure con st itu t es a certificat e b y t he s i gna t ory tha t t o the
s i g na t ory ' s bes t knowledge , info rmat i on , and b elie f, forme d afte r
r easonab le inqu i ry :

       (1 ) the pl e a d i ng or mo tion i s not be i ng pres ented f or any i mproper
    pur pose , inc l uding to harass or to cause unnecessar y delay or needl ess
    i nc r ease in the cost of liti ga t io n;

       (2) e a ch c l a i m, def ense , o r other l e g a l con t en tion i n the p l eading o r
    mot ion i s warran t ed by e xi s t i n g l aw or by a nonf r ivo l o u s argument for
    t he e xtens i on , modi f i cati o n, or reversal of ex i s tin g law or t he
    est ab l ishmen t o f new l aw ;

       (3) each a l legat i o n or other fac t ual con t e ntion in t he pleadi ng or
    motion has ev i denti ary support or , f or a spec ifi ca l ly i den tifi ed
    a ll egat i on or f act ua l cont enti on , i s li ke l y t o h ave e vi den ti ary support
    aft er a reasonable opportun i t y fo r fur ther i nvest i ga t ion or di scov ery;
    a nd

       ( 4) each den i a l i n t he p l e a d i ng or mo tion o f a f ac tua l contenti on i s
    war ranted o n t he evidence o r, f or a s p ec ifi ca lly i dent if ied den i a l, i s
    reason ably based on a l ack o f i nf ormati o n or be li ef .

Added b y Ac t s 1 99 5, 7 4th Le g., ch . 1 37 ,    §   1, e f f . Sep t. 1 , 1 995 .
                                          Texas Statutes

0    Texas Statutes
Ll   CIVIL PRACTICE AND REMEDIES CODE
CJ   TITLE 2. TRIAL, JUDGMENT, AND APPEAL
CJ   SUBTITLE A. GENERAL PROVISIONS
Ll   CHAPTER 10. SANCTIONS FOR FRIVOLOUS PLEADINGS AND MOTIONS


§    10.004 CIV. PRAC. &amp; REM. Violation; sanction

   (a) A c o urt t ha t d e t e rmines tha t a person has s igne d a pl e ad i ng or
mot i on in v io l a ti o n o f Sect i on 1 0 . 0 0 1 ma y impose a s ancti o n on the
p er son , a party represented by the p er son , o r b o th .

    (b) The sanct i on mu st be l i mi ted to wha t i s suff i c i ent to dete r
repetit i o n o f the conduct or comp arab l e conduct by other s s imil arly
s i tuated .

     (c ) A sanction may include a ny of the f o ll owing :

      (1) a d i rect ive to the viola t or to perform, or refrai n f rom
    performin g , a n act ;

       (2 ) a n order t o pay a pena l ty i nt o court ; and

        (3) a n o rder to pay to t he othe r party the a mount of the r easo n ab l e
    expenses incurred by the o t her party bec ause o f t he f iling o f the
    p l e ading or mot i o n , inc l ud i ng rea son a b l e attorney ' s f ees .

     (d) The court may not award mo netary sancti o n s aga i nst a represen ted
p a r ty f or a v i o l at i on o f Section 10 . 00 1 (2 ) .

    (e) The cour t ma y not    award monetary sanctions on it s own i n itia tive
u n les s the court issues     its o r der t o show cause before a vo luntary
dismis s al or settleme nt     of the claims made by or against the party or the
pa rty ' s attorn ey who i s   to b e sanction ed .

  (f ) The fili ng o f a genera l den i a l under Ru l e 92 , Te xa s Ru l es o f Civ il
Procedur e , s ha ll not b e deemed a v i o l a tion of t h i s chapte r .

Ad ded by Acts 1995 , 7 4th Leg ., ch . 1 37 , § 1 , e ff . Sept . 1 , 1 995 .
EXHIBITC
                                EXHIBIT C

                           BANK ACCOUNTS

                            Summation Sheets

                          YEARS 2010 thru 2013

                  Banks are Falcon International Bank and

                       Randolph Brooks Credit Union


   1. Combined Balance Sheet-Helvetia Joabert and Contour

                          Helvetia Account

Balance sheet for Income and Expenses for year and for bank

Check register per year per bank from bank statements. Information
carried to Balance sheet.



                          Joabert Account

Balance sheet for Income and Expenses for year and for bank

Check register per year per bank from bank statements. Information
carried to Balance sheet.

                          Contour Account

Balance sheet for Income and Expenses for year and for bank

Check register per year per bank from bank statements. Information
carried to Balance sheet.
             -                                                                                                                                                                   --·-·-···-----
                                        BALANCE SHE                                                                   '

                                        CONTOUR                     iHELVETIA                                         !JOABERT                                        TOTAL
                                              ..

 SALES                                             88,113.60                                         1,352, 332.39                     20,571.26                          1,461,017.25
             ....        ...                                                                                                                  ·----~-   -~··--   - -·

~·   .--··                                              -···-                                                                   -···-··· ·-

                    -   .. -·-·                                                                                           ...
 TAX                                               17.528.78                                          178,744.49                       72,130.34                              268,403.61
 JR                                                82,303.01                                           55,085.06                       24,000.00                          ·--
                                                                                                                                                                              161,388.07
                                                                                                                                                                                  ·····-----~


 BK                                                                                                   599,995.00
 UNKNOWN                                                                                                4,866.86:                        5,959.19                                 ~. q.~826. 05 :
 SAVINGS                                                                                                                                                                    ...   ...
 JOABERT 9721                                                                                                     --      .                                                             ------
 CONTOUR 2918                                                                                                                                                                     --------
 CONTOUR RBFCU ---                                                                                                                                                !

 HEL GOLD 7318                                                                                                                                                                                --
'HEL RBFCU     :
                                                                                                               ----                                                                          -----
14412 HEL
. CONSTRUCTION      459,296.90               23,052.53                                                                                                                           482,3-49.43
  OFFICE EXPENSE       4,018.81              10,809.37                                                                                 62,515.25                                  77,343.43
  TRAIL 7318                                123,000.00                                                                                                  ~                        123,000.00 !
  BANK CHARGES -----·--- 326.49- .- - - - - - - 190.00                                                                                      261.79                                        778.28:
  PROFESSIONAL         5,060.00'                                                                                                          1,765.10                                      6,825.10
     ENG                                          7,773.70
                                                                                                                                                 --
                                                                                                                                          1.729,53
                                                                                                                                                                       ··~---


                                                                                                                                                                                        9,503.23
                                  -·-   f--

 INSURANCE                                     -·~o.~.~9- -- .                     ·-~   ···--· ..     ....                                                                       30,0Ss.49
 AUTO                                               584.75
                                                                                                                                     -
                                                                                                                                       7,692.30                                         s.217.05
 IDEAL                                                                                                 240,000.00                                                             240,000.00..
 TOTAL                                             606,980.93                                        1,235,743.31                    176,053.50                             1,418,782.74
                                                                                                                          SALES                                             1.461,017.25
     DIFFERENCE                                                                                                                                                    i
                                                                .   -   ...        -----~-••-•ff•-·-·--·····--·
                                                                                                                          OIFF                                                (42,234.51
! INITIAL CK AMONT..,..                                                                                                   JOABERT                                                   275.98
     ENO CK BALANCE                                                                                                       HELVETIA -··- ..                                          614.17
 .~--
                                                                                                                                                                                ··-·--··-
                                                                                                                          JR STOLE                                               22500.00
                                                                                                                          BK ACCOUNT                                   ~-   ~-
                                                                                                                                                                               -_-18844. 36 .
                                                                     CONTOURS FEE                                                                       10%                      48234.94:
                                                                    'CONTOURS OH                                                                        10%                      48234.94

                                                                                                                           DUE BK                                                   77625.52
                                                                                                                              -
                                                                                                              ··-··· .. -------...--
                                                                                                                                                                   ''                           ...

                                                                                                                                 -.-- ..·-··-·                      !
                                                                                                                                                                        -M--
[----------                             1---

                                                                              ..
                                                                                                                           -· ......    -----
                                                                                                                                                                                                      !
                                                                                                                                                                       -·-··      - --·
HELVETIA ACCOUNT
                                                                                                                                                                                                                                                                     I
                                                                                                                                             1

                                                                                                                                                     I
                    !




                                       ~AT                                  I2012F--120;3F . h~
.--.~-

  1                          !HELV
  2
.___
  3                              20101
                                 · -
                                                      T;: .                                                                                           2013R8             SA\1MGS                  !TOTALS                !ADJ--...             AOJTOALS
4       lNCQME ..
                                 ·-
~
    5
~ SALES
 7 JmKSOURSE
                     921.86
                     766.00
                                    38,i                    108,954:47
                                                                287.24
                                                                                    sF:
                                                                                381,118.
                                                                                     ~t==-
                                                                                             I                                     14'.{gaool •12.. 1.32.01
                                                                                                                                                               759~,
                                                                                                                                                                                                . 1,352,332.39
                                                                                                                                                                                                .     1,833.14                   {1,833.14
                                                                                                                                                                                                                                               1,352,332.3_9.·

 8 BK
 9 #12 HEL
10 SAVINGS
                  ·-
                   -
                     --·

                                                    ,.
                                                    I ~·.
                                                                            1~--·_ ·
                                                                                         _
                                                                                         7 900 00
                                                                                                    ·

                                                                                                        ..
                                                                                                                . .

                                                                                                                        f ·              .

                                                                                                                                     2&lt;.000.00
                                                                                                                                                     ...

                                                                                                                                                     I
                                                                                                                                                             1,068.~ ,000.00

                                                                                                                                                            i2.23a51    I 485.16=± s2i:!~.~~ csJi::~
                                                                                                                                                                                          ~40,000
                                                                                                                                                                                                        2.~.66




                                                                                                                                                                                                ..oo ~0.000,00
                                                                                                                                                                                                                                 cs.114.46         (3,645.a_g

                                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                              1·==
11 7312 HGOLD   .
12 JOABERT 9721 +~
  -. .                                                                               40.000.00
                                                                                                                     . I. . .                . .     I 19.981
                                                                                                                                                       -,-                                                                                                       ,
!_5~
    ~.·
13 DIV
rn·tNAT                                  -
                                                              .
                                                                  -·            :
                                                                            ! . . . . 1.                .         .   ~.
                                                                                                                        -
                                                                                                                                              5.81.
                                                                                                                                                 ~~-
                                                                                                                                                                                       130.53  156.32
                                                                                                                                                                                                                         ·====+-~                    156.32 I



~. TOTPllNCOMI(                    39,713.88                                       ~--+ 100.•204.41 M~,220.92 .· 486,29~925,742. .o8
                                                            109,241.1,. . 435,008,551                                                                                                                                       (576.8991711,348,842.SJ

                                                                                                                   .- ~                                                                                                          -~

                                                                                                                                                                                                                                                        I
19 OUTGOING       .                                                         j        .                          -_J                                                     _.
20
21 TAX . ----t· 18,770.70
2.2 ~. ----t. . 12.•0.00.00
                                                                 .     ~·
                                                            . 20.000 . 00       . 13,577.06.
                                                                                               J===- ~.
                                                                                                I ~· 9.soa.oo 1-..
                                                                                                                  -~·
                                                                                                                                                           159,9:g73.79 .
                                                                                                                                                                                 .
                                                                                                                                                                                                     178,744.49
                                                                                                                                                                                                      .55.• o. 85..oo.
                                                                                                                                                                                                                 ·--._
                                                                                                                                                                                                                          ___                    178,744.491
                                                                                                                                                                                                                                                  ss.085.06
23 BK      ~.       3,579.82                                                                        .                                                12,081.64                                          s,714.46     (5,714.46
24 UNRNO~~          2,100.00                                   4.ooo.oo         -_             ..                .                  ..                          ·                 ..                    s,700.00 . . {1,BS3.14                     4,866:86
                                                                                                        =.
25. sAv1NGs
26 JOABERT 9721
·~~ p0N1'0UR 2918
                    2,400.00
                                                               . .
                                                              5,400.00
                                                             15,~.00
                                                                                         . /
                                                                                153,692.4g3
                                                                                _112,100.00
                                                                                             5,000.00
                                                                                                .·.
                                                                                                                         I.        120,000.00 .
                                                                                                                                                           460,000.oo

                                                                                                                                                            50,000.00            110,000.00.··.
                                                                                                                                                                                                     4ao,ooo'.oo
                                                                                                                                                                                                     166,49;!.43
                                                                                                                                                                                                     467!100.00
                                                                                                                                                                                                                          . (521,401.51

                                                                                                                                                                                                                          .
                                                                                                                                                                                                                             (40,000.00
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                 (61,401.s1
                                                                                                                                                                                                                                                 12",492."3
                                                                                                                                                                                                                                                _467,1. 00.00

29 HEL GOLD 7312                                                                150,000.00                            . •                                               I                            150~                                        150,000.00
~~ ~L                        I                                 -~ .             ..            =t=2.,000.00                     .         ==---=+==.                          .    36,239:~7 I ~8;239.571 . .                (7;950.00 . . 30,289.. 57
_32!CONSTRUCTlCN1·
33 OFFICE EXP .
34.··TR~l.L7318
                   :
                                                            .----;;n-nnf-. .
                                                                            I
                                                                             + I
                                                                                 .
                                                                                -~  .    ~20,000.00
                                                                                                    '    .. -             ..         1~~.427.50
                                                                                                                                       50.00 • 10,759.37
                                                                                                                                                                                                1    . 23;052.531
                                                                                                                                                                                                    .. 10,809,37
                                                                                                                                                                                                                             -
                                                                                                                                                                                                                             __ '
                                                                                                                                                                                                                                          23,952.53
                                                                                                                                                                                                                                          10,809~37
35j8ANKCHAR~ES/
               · :
                                                              ~+--                        -r--: +-. .        3,ooo.oo                                               . . 100.000.ool·                  123,0.00.00            --   . .ti.000.00
         ROFESSIQNAL
                                   .
                                                                       . ,           _  ·-r-
                                                                                       170.00_ _
                                                                                              .   -+-             ..+ ___
                                                                                                                   ..
                                                                                                                                         .
                                                                                                                                             _                                                            190_.00.          _ _ _J___ 190.00j
                                                                                                                                                                                                                                   _i_ _

~~RANCE~±=                                              -            t== ==± i=-- .•                  . . .+= ===±=. I                                                                                          =
:~~
l!W~ .
                             . ..
                             I     39,450.52
                                                            . I~9.49
                                                             ....&lt;20:00
                                                                                    ±==-±- . .~.29_2.57 I ~.925.127.91 ~76,89917~40.000.00
                                                                             =± 10.000.00~~0.                                                                 ,242.30
                                                                                                                                                                                 240.ooo.oof- _240,00o.ooi                   .
                                                                                                                                                                                                                                               1.348,228.74

·43     DIFFEREN~E                       263.34                        (54,470.. 94
                                                             64,82.1.8.1                                (10,000.. ooi               24,021.38             (24,021.36'                  __j_..             614p               --·                    614.17.

                                                                                                                                                                                   _··--2·.                                                            ii
44 INITIAL CK AMO                            0.00                263.34 65,065.15                        10,614.21                                         24,021.38                   _.l                  0.00                  614.17            614.17

m
~
-
    . . ENDCKBALANC. __ ·--iss:-3_4
        BANK BAl.ANCE .. .
            OITION      ..
                         1
                                         263.34
                                             0.00   I
                                                             65,08_6~15 1.0.614.21
                                                             65,08~.15
                                                                  0.00
                                                                        10,614.21
                                                                              0.00
                                                                                                            614.21
                                                                                                            61_4.21
                                                                                                              0.00              .
                                                                                                                                    ?4,021.38
                                                                                                                                    2-4,021.38
                                                                                                                                             o.oo.
                                                                                                                                                         -
                                                                                                                                                     t = '
                                                                                                                                                                0.00.
                                                                                                                                                               ~~-00
                                                                                                                                                                0.00
                                                                                                                                                                                                          614:17
                                                                                                                                                                                                            .
                                                                                                                                                                                                                            ------S-.14.17·1
                                                                                                                                                                                                                           --··
                                                                                                                                                                                                        . 614.17 _ _ 61417 · - - 0.00
                                                                                                                                                                                                                                                      (000,

4                        .                   .    .                                                                             .                .                                                      ..       ·--       _ _ .ERR
                                                                                                                                                                                                                                                                                                                                  ·--
                                           HELVETIAF '*LCON                                                                                                                                                                                                                                                                                                                               ...
              Date              AMOUNT.... Payee      WtREINCOI CLASS                                                                                                                                      0ei&gt;0s1t                     ;who                                      Bank          cfutrge Interest Balance                                                              ··-
                                                                                                                                                                                                                                        '                               -·~   .... -                                                                                     --~-


.-·-.                                                                        --- ..                                                                                                                                                                                                                          - -·--                                                         --····~-



                  2010                                                                                                                                                                                                    -1onainal                                           Original                                       ..
              01/01                           1432.00 TAX                                                                                                                                                          19259.60 ADAM-                                                                                                                                  17827.60
                                                                                                                                                                                                                                                                                                         -
              01/01                           1432.00 TAX                                                                                                                                                  -·- -·                                                                       ···----·
                                                                                                                                                                                                                                                                                                                                                                   16395.60
              01/01                            1432.00 TAX                                                                                                                                                                                                                                                                          ----                           14963.60:
                                 ..                                                                                                                                                 -- .   ~-
                                                                                                                                                                                                                                                                                                                                               ~~




              01/01                       1432.00                            TAX                                                  ..                                                             - .... -                                                                ..                                                                                        13531.60
                                                                                                                                                                                                                                                                                              -·---
              01/01                      '1.432.00                           TAX                                                                                                                                                                 -                                                           -
                                                                                                                                                                                                                                                                                                                                                                   12099.60 .
                                                                                                        ··----                                                                                                                     -    ......
              01/01                       1432.00                            TAX                        .•                                                                  -------                                                                                                                        --
                                                                                                                                                                                                                                                                                                                 --~-

                                                                                                                                                                                                                                                                                                                                                                    10667.oo
              01/01                   ..
                                          1432.00      TAX                                                                                                                                                                                           ...                                                                    .. ..                                        9235.~
        !
              01/01                          1432~00 TAX                                                                                                                                                                                                                                                                                                                 7803.60•
                                            . .. .   I                                                                                                                                -·· --                                                               ...                                                               -
              01/01                            14~2.00                       :TAX                                                                                                                                                      - ....
                                                                                                                                                                                                                                                                                                                                                                         6371.60
                                                                                                        ---·                                                                                          :
              01/01
              01/01
                                               1432.00 TAX
                                               1432.00 ,TAX··· .
                                               1432.00 1TAX
                                                                                                                                                               ·--

                                                                                                                                                                                                 -·
                                                                                                                                                                                                                                        ..   -
                                                                                                                                                                                                                                                                      -···-
                                                                                                                                                                                                                                                                                                                        +-                      ....               ...
                                                                                                                                                                                                                                                                                                                                                                         4939:60
                                                                                                                                                                                                                                                                                                                                                                         3501~6cf
                                                                                                                                                                                                                                                                                                                                                                         2075.60
              01/01                   -                                                                             ...                                                               -                                                                                                            -··
                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                         2075.60
              01/01
              02101                             1432.00 TAX
                                            .........__
                                                                             TAX
                                                                                                                                                 --
                                                                                                                                                                                                      I
                                                                                                                                                                                                      I
                                                                                                                                                                                                              ..                                                 -·     . -l--I
                                                                                                                                                                                                                                                                                                                                        ---·
                                                                                                                                                                                                                                                                                                                                                                          643.60
                                                                                                                                                                                     -                 i
                                                                                                                                                                                                                                                                                  ·-·   ..    ····-
                                                                                                                                                                                                                                                                                                                                                                          643.60
              02101                                                          TAX
                                                                                                                          l
                                                                                                                                                                                                                                                                                                                 ---                                                      643.60
              02101                                                                                ..                                                                                                                                                                                                                       ··-
                                                                                                                                                                                                                         ·-·
              03/01                                   154.70 lAX                                                                                                                                                                                                                                                                                             -·
                                                                                                                                                                                                                                                                                                                                                                          488.90
                                                                                                                                  '"

              03/01                                                                                                       I                                                                                                                                                                                                                                               488.90
              04/01
                                                                       ...              ---·-                             I                                                 i
                                                                                                                                                                                                                         --                                              -                                                              ···-
                                                                                                                                                                                                                                                                                                                                                                          488.QO
                                -·                                                                                                                                                                                                                                                .. ···-·
              041'27                         2579.82 TAX                                                                          BK.TAX CEF TTOBEX 19668.26 ADAM                                                                                                                                                                                    i
                                                                                                                                                                                                                                                                                                                                                                     17577.34
              04/21                          1000.00      9721                                                                                                                        ...., ..                                                                                                      -·-
                                                                                                                                                                                                                                                                                                                                                                     16577.34
              05105                         12000.00 TXPMR
                                                                      ---                                                                                                                                                 286.00            UNK                                                                                                                       4863.34
              ~D                                                                                                                                                                                                   ..                                                                                                                                                 4863:34
                  ERR
                          -                                                                                                                            .....
                                                                                                                                                                                                                                                                                                                                                                         4863.34
                                                                                                                                                                                                                        ·- ..
              07/01                              1000.00                                          -·9721                                                                                                                                                                                                                                                                 3863.34-
                                                                                                                                                                                                                                  --
              07/01                                                                ...            .-                                                     ··-                                                            --                                                                                                   --···
                                                                                                                                                                                                                                                                                                                                                                         3863.34
              07f01                                                                                                                                                                                                                                        -                                                                                                             3863.34
              08/01                              1000.00                      BK                                                                                                                  -                                                              -                                                                -·--
                                                                                                                                                                                                                                                                                                                                                                         2863.34;
              08/01                                                                                                                                               ··   __       ~---·-                     --~·-·
                                                                                                                                                                                                                                                                                                                                                                         2863.34
              09101 - .                                                                                                                                                                                                                                                                                                                                                  2863.34
            !
              09/01
                                                                                                             ·-·-                                                       -                                                              ·-                                                     ---                                                                        2863.34
                                                                                                                                                                                                                                            ·-                                                                                             ----
                                                                ...... _g, if
                                                 2100:00 ! JOABERl
                                                                                                                                                                                                                                                                                             ·-~.




              10/01                                                                                                                                                                                       '
                                                                                                                                                                                                                                  --·-
                                                                                                                                                                                                                                                                              :                                                         ...                               163.34
                  11/01                                                                                                                                                                                                                                                                                                                                                    163.34
                                                                                                                                                                                                                                                                                                                                   - ··-·
                  12101                               400:00                                             9721                                                                                                  ---···
                                                                                                                                                                                                                      S00.00                 UNK                      ·--·                                                    -····
                                                                                                                                                                                                                                                                                                                                                                          263.34
                  12101                                                                                                                                                                                                                                                                                                                                                   263.34
                                            39450.52
                                                                                                                                                                                     ----                                                                                                    ----     ..                                                     - 197533.74
                  ERR                                                                              ..                         I                                                                                    39713.86                                              -·                                                             ·-··-··
                                                                                                                                                                                i                                    263.34
                                                                                                 ··-·                                                          --- ..
                                                                                                                                                                                                                   39713.86                           39713.86                                                   ·--
                                                                                                                                                                                                                                        "
                                                                                                                                                                                ;                                  ...                                                                                                             -,


                                      ...       -               ...   -·
                                                                                                                              ;
                                                                                                                                       ...                                           --·-·----- ...           ·-
                                                                                                                                                                                                                                                     38927.86 income
                                                                                  ..                                          :
                                                                                                                                                       ...
                                                                                                                                                                                                                                                       786.00 UNK                                                                                             -
                                      ·--. -                                                                                                     ...
                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                  .BK ADV                                                             :
                                                          ...                                                                          -                                                                            -·-~      .                                                                                                                              ·-·
            -------                                             ····-·-·     ~.                                                            ...                              i
                                                                                                                                                                                                  --          ··-····
                                                                                                                                                                                                                                                      39713.86 TOTALINCC 'ME                                                                          '
                                                                                                                                                                                                                                                                                                                                                    ..j_,_



            ~-·
               ...___                                                                  --   ..                                                                                                                                                             -··                                                              --····                                                        ..

            }----..:..    ...   --                                                                                  -·---                                                                                                                                      EXPENSES
                                                                                                                                                                                                                                                                                                                                                         '                                ·-
                     .   ·-                                                                                                                                                                                                             -             21350.52 TAX                                                                                                                 ....   ,_
                                                                                                         ·-                   i                                                                                                                       12000.00 JR                                                                                        I

                                                                                                                              i                                                                                                                                    UNK . -··-·
                                                                                                                                                                                                                                                                                                                              ---·
                                                                                                                                                                                                                                                                                                                             ...
                                                                                                                                                                                                                                                                                                                                                                                      ·-
                                                                                                        ...                                                                                       -·- ·-· ..            ··-                                5100.00 9721·---·---                                                                                             ··~

                                                                                   ...                       ·--
                                                                                                                                                                                                                                                           1000.00 BK
                                                                                                                                                                                                                                                                                              -···~·.                                                                                 -~--




                                                                                            -· ·-·· -- ..           ..                                                                                                                                                                                   .... -···
        .,
                                                                                                                                   ---- ·-·                                                                                                     39450.52                                                                                                      -- ··-·        ·--
                                                                                                                    •···-·
                                                                                                                                                                                                                                             --39450.52
                                                                                                                                                                                                                                                   -0.00                                                                                                                  ----··
                                                         HELVETIA t "LCON
         Date              AMOUNT                        Payee            WIRE INCOI CiASS Depo$it Who Bank Charae interest Balance
                                                                                           !
                                                                - - · ___,___ _ _ -+----+------+------·=o.oo  0.00 · ------+--- 0.00
                                                                                                                                   0.00
                                                   0.00 Origiri81
1--20-.-1-1-+---- · - - t ' - - - - · - - - j f - - - - - - - 1 - ··
                                                                  Original               263.34
                                                                                .. _.____ _
l - - = " " - - ' - - 1 · - · · - - - + - - - · - .. · · - + - - - - - - + - · - - - - 1 - - - · - - - j f - - - = - - -                         +~&gt;-----+-                                    ~
       01/01                                                                             263.34
.........,,0-1/0=-1-+----+-----·+------&lt;-----&lt;&gt;------ + - - - - - + - - - - - + - I      263.34
                                                     ·-------···--+-----+----···-------i----·-·-+---+-----o-1
    01/01
,______ _....___ _ _-+--··-·                                     ~--+-----+-----+---···-·--+--~                                                - - - + - - - - - &lt; - - - + - - -263.34
                                                                                                                                                                                ---&lt;
       01/01                                                                                                263.34
       01/01                                         '
                                          - ------i--.,,2=0-1s"""2-
                                                                 ..1"'"3+SA:::-:-:-l=E,---·-+-------+---=20415.47
   01/01 I                          -----'---·· •                         ~--!----···       ·--+-----t-··20415.47.
' 01!01               -+-----&gt;----'--·· --&gt;----+---·--~----+-----+--- ..                                  ?0415.47
-0-1/_0_1_____._______,__ _ ___,______-+-----t-----l&gt;------+,-------t--· .                                20415.47
- - - - ' - + - - - - - - &gt; · · - - - - - - - - - - - · · - + - - - - - + - - · · · · - - + - - - - - - - ---+----+-···
 01/01                                                                20415.47
h-='--'---+-----1-------l------l·-···---------+---.. -+-----&lt;---+--------=-1
 01101                                                                20415.47
  01101                                                                                                                                                                        i        2().415..47
!-------,'--+-----+--- ---+------+--·- · · · - + - - - - + - - - - - + - · .. - · - - - + - -
  01/01                                                                                                                                                                                 20415.47
i--.,o-11-=o-1--+----+---~-----+------1----',-------+--·--                                                                                                 --+----+ - 20415.47
'-ow=-1~1-----200-00~.oo~+. J~L~R----+---··· ·                                             · --+-----1---                 ··-+-----+                       ------r---+-
                                                                                                                                                        ·· ·            415.47
                                                                                                                                                           -··----+---&lt;··-
       02/01                                400.00                 9721                                                                                                                     10.47.
~1--+--'-'-'-'--+----1------·~-----&lt;-----+------+----                                                                                                                                       15..47
                              -----+------+-----+-·· ···---+-----+-----1· · - - - - - - + - · ·--+----=-'
        03/01                                                     i                                  15.47
        0310_1_+------·+-----l--····---t----__.._----+-------r--------+--+-----o1=5.~47="'

    04101                                                                                                          "287:34     ~i:r        .                                              302.81
'--04/0--1----+------·                               ~-----+-------·-+----t-----i--~---1c-----+--                                                                                          302.81
' - - - ' ' - - - ' - - + - - - - - ! - - - - - - - - - + - - - - ..... ··- : - - - + - - - - +                                  ----+----·-·-
        04/01
~.o:-=51i-=-01.:....-1-----···+---------····                                            ·· --+----1----+-,- - - - + · · · · · - - - - - - +'                                               302.81
                                                                                                                                                                                           a02.a1
i-..:o=s=to:..:.1--1---------1--- -.....!-----+----- ·-·                                                              - - - - - - ·····-r-----1--··                          --+------030~2.-=-071
                                                                                                                                                                                                1

        0510.1                                                                                                                                                                             302. 81
0&amp;01                                                                            -· - - - - ! - - - - + - - - ---+---"-t--------+----30~2.-81_,
       05/01 ' _ _ __,__ _ __._ ... ---·--....----+----+-----
    . ·-06/-01_.__                                                                                                                                                                         302.81
                                                                                                                                                                                           302.81~


        07/0...,..1--+---~------+---···· ..          -----1.-2-11~9---5_.,..99--1-=A...,.,,S----+    ·- -·-,10-_-oo,..,_...._ _.,... __ 21488 70
        07/01              -l------+-----1------&lt;----=                                           - - - - - + - - · · · .. 21488.70
   07/01··· ------&lt;--··-·--+-----+-----                             -----11------··--1-----+-·· ..                                     21488.70
J.._:0:.:..7/0::.:;..:..1--1------I------ ...._ _ __,__ _- + - - - - · · · - - - t - - - - · - - - + - - ! - - 21488.70
,__0-7/0~1--+------+-----+---· ~-----1-----;c------t----··                                                                                                     -···--.---t--~2-14~88-.          70
l---o-'-1-10.:..1-+----+----------"-,----+----1----+, ··----1------r----2,...,1,..,.488==-c.1=-10
i--:0:...71-=0.:..1--i------+-----+-----+-·-······-·i-E-R---+--··-·-·--+----·i                                                                                                     __   21~:.?Q.
~0:.....81:..:.0..:...1--l------·--+------1---··--·-+------+-----·~.----+--------r---                                            21488.70
1-'----"o'--81-0-1-+---40-00-_-00~Y-N-K-NOW--.N--+- -· .. ·--+---1---2-191-5-.49-&lt;-E-RR_O_R_·- • ·----=-10::--.0=0-r;- - - ... - 39394.19
~·
      09/01 '                                                     :
                                          • .- ···--+----~---t---~f----••·r·---t-----+••----;---;o==-::-=&lt;
                                                                                                                                 39394.19
, 09iu1                                                                                                                                                                                 39394.ll:t
J........:1'--0/0~1-+~1-5-00Q---.Q0-+---~29-1-8+----+----1-----1------+----                    -T----t----c=24J--o=94:-::--:.1=19
1
~1-1;~0-1-+--..,.5"""00~0--=.oo=+--=97=2,._.1-+----+----1------1~--···- .....- - - - + - -                        19394.19
  12/01                          -+-----t------=2~28~45-:48-t-o-NA~~F=G=---+----+----1-4-22-39-.6=1 1
i--:1.::;:21'.,:;c0"-1-+----+-----+-----+----+~22=545'--""-_·48~.~NA""'~~F='G~--+ · · · - - - + - - - ! · · · · · 66085;15
1------=...:c....-1--------l'--··-· ----+------l---"-
          2013
1--~"--1~ ....                       ---..· - - - - + - - - - · ·                -----+----+--·-                                                       !
                                                                                                                               -----t---·- .- ·----;---------  ..
          2013
1-----'--+-----+-~----~-------lf----+-----+·----+----··-·t-----r-----··                                                                                      . -----
          2013
c---2=0'-'-13=--if--fs.400.00.                                22360J~.O.+----·==o=.~oo::===o:;.oo~...._..,,1()9~=24~1-.e~1~
                                                                                                                        ___-:::_-:::_-:::_-:::_-:_o-._oo-~..._-___
                                                                                                                                                                 __,_2~0~.o-o+---0.~oo-=-+----_-_-&lt;

                                                                                               INCOME
                                                             -----+-----·-~                    INCOME          108954.47
                                                         UNKAOD:    287:~,...,;----_._ __ ·-·---1----+-"&gt;----i
                             __________,__ _ __,__ _ __._T_OtAC. 109241.81    ·---r-----·
 f----+------+------'-······                                                          --+o-R=IG=·-,NA~.--2=53=-_~34.,-1----·--+------r--1-------1
                                                                         --'------+=T=pT=Al,...,. IN           1~505.15.             --------1---             ·-·· - . . - - - - - -          ··-
,___                -t-----------+-,----+----;--~-----..,------;-----+                                                                                                 ------1---··-
 ~-----'------+---

 ~·---'------4---




 ~-----+-------+---                                                                                                                                         ···-+---                     -··--
                                                                                                                                                                        --                     -·-
    1-- • . . . . : - - - ' - - - - - · ·       ··--+-----                                                                                 ~-1-----+---                                 ····-
                                                                                                                                         - - + - - - · --+----·                +----

 ~···I                                        ··--+---
                                                         i
                                                                                            --;.-,~~-+-'="==~c+-----r----··-·                                     -+'------
                                                                                                                                                                                                                   ....                                                             ..
                                                  HELVEl'i4. .FALCON
         Date               Checl&lt; No             Payee    ·WtREINCC CLASS
                                                                                                                                   ·- Oeposif                                  Who
                                                                                                                                                                                                  ..
                                                                                                                                                                                                                   Bank Cha Interest                                                Balance
r---;--                 I

                                                                             ..                                                                                                                                                                                                          ··-
                                   ...                                 --    ..                                                                                                                                                                                 --·
          2012                                                                                                                                                                 OriQinal                            Original                                                             65085.15
         01/01                                    .A                    20442.82'                                                                                                                                                                                                       85527.97
                                                                                                                                                                                                                           ··-    ·--
         01/01                            'F                            22834.95                                                                                                                                                                                                 I 108362.92
         01/01
                                                                                                                                                                                                                                                                       -              136383.57
                                           A
                                                 --   ' 28030'.65                                                     ~
                                                                                                                                                                                         -··
                                                                                                                                                                                                                               10.00
         01/01                              F         ; 47205.62                                                                                                                                                               10,00                                                   183579.19
         01/01
                    -             1694.28 9,721.00
                                                                                                                          -
                                                                                                                                                                                                                               10.00                                                  181874.91
                                                                                                                                                                                                                                                                     .. ---
         01/01                    2870.-48 9,721.00                                                                                                                                                                              ...
                                                                                                                                                                                                                                                                                       17900.(43
                                                                                                                                                                                                                                                                   -·
         01/01                   43919.65 9,721.00                                                                                      ''                                                                                                                                             135684.78
                                                                                                                                                                                                   ...                                                                     . ..
         01101                     257.82 9,721.00                    I
                                                                                                                                                                                                                          ...                                                         134826.96
                                                                                                                          -                                                              ·-
         01/01                     712.39 : 9, 721.00                                                                                                                                                                                                                                  134114.57
         01/01                    1237.81 9,721,00.
                                                                                                                                                                                                                                       -                                               132876.76
                                                                                                                                                                         ·-·   --
         01[01                    4000.00 9,721.00                                                                                                                                                                                                                                -·
                                                                                                                                                                                                                                                                                       128B76.76
         01101                   12000.00 9,721.00                                                                                                                                                                             10.00                                            - .
                                                                                                                                                                                                                                                                                       116866.76
         01/01                   14000.00 2,918.00                                                                                                                                                                                                                                     102866.76
                                                                                                                                                                                                                                                            ··---
  02101                                   ·A                30414.16:                                                                                                                                                          10.00                                                   133270.92
                                                                                                                                                                                                               !
                                                                                                                                                                                                                                                            ----
  02/01                                     F             ...23548.50                                                                                   3850.00                     4412.00·                                   10.00                                                   160659.42.
  02101                           4000.00 9,721.00.                                                                                                                 ..                                                                                                          . 158860.42
  03/01                         150000.00 7,312.00                                                                                                                                                                                                                                       6659.42
  03/01                           1500.00 2,918.QO
                                                                                                                                                                                                                                                                                          --
                                                                                                                                                                                                                                                                                         5159.42
  04/01                                     F               47104.77
                                                                                                                                                                                                                   ·-
                                                                                                                                                        ---··
                                                                                                                                                                                                                               10.00                                                    52254.19
  04/01                                     A                28457.90                                                 ...                                                                    ..                                10.00.
                                                                                                                                                                                                                                ..                                        "
                                                                                                                                                                                                                                                                                        80702.09
  04/01                           6600.00. 2,918.00                                                                       --·-                                                                 -- ---
                                                                                                                                                                                                                                                                                        74102.09
  05101                                    'F                47153.62                                                                                                                                                          10.00                                                   121245.71
 05101                                      F               23616:86
                                                                                                               --                                                                  -                                           10.00
                                                                                                                                                                                                                                                           ·-
                                                                                                                                                                                                                                                                                       144852.57
  051'01                                    F               23616:86
                                                                                                                 '"                                                            '                                               10.00
                                                ··-'                                                                                         ...        ...
                                                                                                                                                                                                                                                                                       168459.43
  05/01                                     F           ..
                                                            23633.49 ..                                                                                                                                                        10.00                                                   192082.92
         05/01                    3000.00 9,721.00                                                                                                 -·
                                                                                                                                                                                                                                                                                       189082.92
                                                                                                                                                                                                                                                                         -·-·
         06/01                                                          21058.35                                                   ..                                                                                            10~00                                                 210131.27
         06/01                    5000.00             9,12·1.oo                                                                                                                                                                                                                        205131.27
                                                                                                                      ···-
         06/01              ~
                                 20000.00             9,721.00         ---------
                                                                                                                                                   20000.00 9121:00·                                                                                          -·
                                                                                                                                                                                                                                                                                       205131.27
         06101                   20000.00             9!721.00                                                                     --              20000.00 .. 9721.00.                                                                                                             .. 205131.27;
         06/01                   20000.00             9,721.00.                                                                                                                                                                                                                        185131.27
         07f01                  150000.00             2,918.00
                                                                                                                                                                                                  --                                                                                    3513127
                                                                                        -·                                                                                                                                 ...                                  . ..
         07101                                                                                                                ·-                                                                   --. -
                                                                                                                                                                                                                                                                                               35131.27
         07/01                                                                                                                                                                                                                                                                                 35131.27
         08101                    5000.00 9,721.00
                                                                                                                                                              ---                                                                      -
                                                                                             -··
                                                                                                   !
                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                               30131.27
         08/01 ..                 9500.00 JLR                                                                                                                                                              -   . - -- 4000 - .                                                                  20691~27
         09/01                    4077.06 JLR                          TXPMR
                                                                                   -·                                                                                                                                                  --        ·-
                                                                                                                                                                                                                                                                                                16514.21 ,
         09101                   10000.00 9.72LOO                                        -·            --                                               4100.00                     4412.00                               ..                                                  ...
                                                                                                                                                                                                                                                                                                10614.21
         10/01                                                                                                                                                                                                                                                                                  10614.21
                                                      ·····-                      ···-                                        ·-             ~
                                                                                                                                                              -
         11/01                                                                                                                                                                                                                                                                                  10614.21
         12/01
                                                               -·-·.                                       -                                                                                                                                                                                   .1.0614.21
                                           -                                                                                                                                                                                                ..        ..
         12/01                                    I
                                                                                                                      -                                                                                                                                                                         10614.21
                                489369.49                              387116.55                                ...                                47950.00
                                                                                                                                                   --.
                                                                                                                                                                                                                           170.00
                                                                                                                                                                                                                             .. -                                         ...                           ..    '
                                                                                                                                                                               '
                                          ·····                                                                ..                                                                   -.                             -----                                        ..                             -.    -----

     .HElVETI              4.41200                                                                     M7.111J°!55 income
                                                                                                                                                                                         -                                                                      -·
      JOABER    153692.43 9,721.00                                                                     --~.ooo.ocf 9721.00                                                                                          initial                                                                         ---
      HELGOL - .112100.oo· 2,91a."60                                                                     7,950.00 4412 HEL
     •· -                                                                                                                                                                                                                                                                                               ...

      ..     -
                 13577,0S jj_R:--~---                                                        -··
                                                                                                       435,068.55 TOTAL                                                                                                   ·---                             -·                       I

                150000.00 7.312.00                                                                     ~89.369.49 SPENT
                                                                                                           170.00 BC
                                                                                                                                                                                                                                                                                                      ·-
-.                                                                            ..                                                                                                                                                                                                    I


     f                                   . I'" ......... P
                                489369.49 TOTAL E
                                                                       9721
                                                                                                       489;539.49 TOTAL SP NT
                                                                                                       i   (54,470.94 BAL
                                                                                                           65,085.15 INITIAL ~
                                                                                                                                                                                                                                                           ----··                                       -1
     I
                            I                                          loK               . ..
                                                                                                           10,614.21 BANK ~n:~EMENT_L__
                                                                                                                                                                                                                                                                     ..             i
                                                                                                                                                                                                                                                                                     I                  _J
                                                                                                      ....                  ~-··                - ---r--··                                        ---,
                                                                                    ---+-      ---~!· · - -                      u•'-                 •••"••'·-~      ..   ••               -     "••   --~
                                                                                             D0p~,9-offT9                                                            l
    SAVINGS .. ~---~---·------- -- --                                            - - + - - - - · .. ····· · - - - - + - - - - - . - - - - - - - - - ·
   'JOABERT 9721                                                                                 ----+-----                      - -· ··- - - - ·             ...
                          - - - 1 - - - - - -.. - . ·- -
                                                                                                                           .
                                                                                                                                                                    -~----



    CONTOUR 2918 ....... - - - - - - - + - - -           -----                                  :~j4',000.00                                                                       (4 000 00
   HELGoLD 131s
    CONSTRUq~_O_N+---c-~·. ·-
                                                    (1,ooo:Oo}
                                                             .1... . ..                               -~--+---\---:-- ___'
                                                                                                                           1
                                                                                                                       .~----····-~-----··-~~-        · -- • +-.--'-f1~:0~00:001
                                                                                                                                                                    -+-----·· .. .P_ _.
    OFFICF EXP                   H.394:88:          (7:922.31 . (28.~?_Q..04}. (13.a2a,02                                       . "'"'·-+--- ..                                  (?_3-.~1)5.25~
   ·fAAil731a···
   -BANK CHARGES
. --..i PROFESSIONA,....,...1-+---
   AUTO · · · - - -
   · - - - . ------
    ENG
                                                                                                                                                 . ---····    · · - - ' " - · - - - - ..

    TOTAL                        (8,090.98      '_:_(2·(-080:85 (111_,257,38 (29,_~7iL29                                                     TOTAL           ·-·----+-~(1__7?.!..003.so




                                                                                                                            1




                                                                                                                                                               ....
                                                                                                                                                                                              ...
                                                                                                                                                       ...
                                                                                                                  1
   ~
  F=                _111.!0UNT
                                    iJOARftT.-P"1-c~N
                                   ~are"~..
                                                                :
                                                                -~~~E
                                                                            .,. ____ r - ·
                                                                           iNCOl Clfl!J!l     !~It           _       WtiO
                                                                                                                                        ~:nkC~_~!]lnte~E.J;ll~~~~~-]
                                                                                                                                                ERR _'.__ _____                 E.RR~
        -~~:                     _ /- __ . --------~=~--- ----- ---, . -                                 ______ -~~t~                   dngioal .            -·- ----      -~~:.:
       --oji01           1320,90 AlBERTUESTf TAX                                             .J_ 5000,00                     4412         ------ -- ,, -----· 18329.37
        O~I01             Jf3~00     RB                  AUHJ                                  ,                                                --- ------· ··1iS01tf31
        02101        --45s:sg        CAP                 EXP                                 . r------.,-·-+-~-+-------+·---                                               ""17557.78
        02iOf-- --· 7320;62 ALBERT UESTI TAX- .. -----                                         i        .. -------                                                         10237.16
        02101        --- -- 313.00 i RQ                  l\UTO                                                 . ~- . .                                                      0,024.16
         02101   ··-f-    975A71 CAP                          .....EXP-                                                         . ------------+-----,8='="'94i[69
       . 02/01            "'1"2""'s-_o,...,,o+B-EXA-·
                                                _......,_.-R----l=TAX---+----                                                                                                8820.69
       · 03101            s13.oo     RB ___ ·- ·         Atiro ·                -+----+---                                                                                   asof69
        03/01            4811.93 CAP               .----· EXP                                                                                                                3695.76 !
        04/01             313~00     RB                 _,_A_U_T-.0-+-----------•·····               ~··--·----       ----+---                                         ·--·· 3382~W
        04101      31 f5.23 CAP-          EXP                                                                                     _.!l! r                         ..   --------267.53:
   &gt;--04l0
       __  1 --+----J.~0:_-00-+-5-AN-K----+-5-C--+----                                       . _ ... ---o-~-=-...,_"=-·•iii~~-+-----t-                                 _____ zy.s3
        05/01             325.00 TCEQ                    TAX                                        5000.00 :"f312.00 !                                                      4912. 53

       - =g~=:=-,-~c. . --+---=~=~;;-'i~=,~g=._1-";e..... --------i?'·_-~=~~·:+-----~~~~~-- 7a12 00 ----~+-~-------+------~i~=-~~::-=;=-'
                                                                                                                                    !

   ··-osiiH ..           1427.65 CAP                      EXP                                                                               ............ . . -·· .... --   --·1649.3i
   ~-07~/0~1---1---3-13-.00-+-RB-~----·--+-A-U~T___,O_- - - - + - - -_                        __,________ ·- -: .                                                            7336.38
        01ro1             lm;iJ)ff CAP                    EXP                             · '-&gt;---           .· •                        · .. --- ·-· ----1·--0--.,-0-.1--&lt;3
   j Q?_IQ1          --1450.00 CAP                       EXP                                  - --- .                                             --- -- . ---         --6006-:73
   : 08/01                313,00 RB              AUTC                                    ----- - - - - - - - - - - -                                                         4693.73l
   r-t 09101
       08101              104-.75ALBERT.iJ"i;Sii TAX .
                          313.00 .RB ... ~--·----_"---ct-.oA""UT"=~c=1------+-------t----·--··--·····--1              ....          .. -· --   --···-------
                                                                                                                                                                             45iAu"
                                                                                                                                                                             4275.98
   ; 09101           -----4odo.O() ~OONTOUR·---·-29ra -- -----------~---+----- -                           - . ..)                                                            275.98
,,.-
   ~o9/""1·--;--2=s=a=7-4-:--.2=0:-t--------1--;,..,...,."*C"'.'"....
                                                                    ..,+------

    --(jg/(f1                                                          TAX                 .·- 9199.27 ORIGINAl START                   14ss~~'= =~=_1_465~~2.T
                                                                       EXP              -.. T13328.02                   S312.00; 10000.00                ...   :
                                               --- ...... · · ·--··-- Aifto . · --~--2s11.oo                     . ___ - . 44121 5000.00
                                                                                     2916 ! Al\IV\. ,oo·.·.      .    .              !
   - - - + - - - - - · - . - ...... ,.... -··· ···----··--,- ··-·.--- ..---- .... --·- .~.:--1~-"tUV-'--V-".--'-+----~-----~ =-::c--o=+---+-·-__j
                  - ... .,.. ------ - - · - - - - - - - - -----
                                                                       BC
                                                                 ------~-----          --
                                                                                       ------'-~·
                                                                                                 30.00                  .TOTAL H 29650.27-~--=-..-l--+----~

                                                                                                                        ·SPENT 29374.29
    '~-~-----"-r------.-J=o=A=s=1:ft==T=FA=L:--:c=o=·N:.---------~=~~~~ '---~·-='-·_:_·~~~ ~=~·- ~                                                                                                  . .-... ._-_.-..
                                                                                                                                                                                                                   ~,
                                                                         2012
    :_Payee_____________ ·-"-1---------AMOUNT                         Check TRANSFERS FROM                                                       Bank        c lntere Balance                                          i




    I       s ROMO TAX RC                  TAX            2870.48
        --'------1---1--~---+-___:.--1---.-;"------"---+------
                                                                         1194                2,870.4$                             4412 ,____            ____._____ _1800.49
        • S ROMO TAX Kl                    TAX       4391QR5             1195               43,9.1965                             441?                                                                 1R004~
    :·s·RoMo-tAX JD~- ---JR___                            2000.00 ___ Jt~-         _,____. __2_5,-'_.1._s2-+-·___4__41__2                        _____ -~-~----441_:69__
    I SROMOTAXRC TAX                                       712.39        1'197                  712.39                            4412                                                   1             -441.69
            S ROMO TAX RC                  Tl\X                          1109                1 1237.91                            4412                                                                   706.12
            S ROMO TAX RC TAX
        1------1--1------cc--+--~;._
                                                          1237.81        1199             4,000.00
                                                                           ..___ . -· _____,:.:_____c....--!---·--
                                                                                                                  4412                           ------~---1-~
                                                                                                                                                                                                3558.31
              TXPMR JLR                    JR             1500.00
        1------+-----+----------.--+-----'&gt;---'----~--------L-.--;...____
                                                                         1200            12,000.00                 4412                                                    .. --- . --     ---
                                                                                                                                                                                               14058.31
                    NBP                    ENG             200:_66__,___1_31_3-1--_ _ _..____._ _______ ·----- ---·---- ~ 13657.43
              CITY BANK
        .,,_____                       i EXP               200.00        5640- 1 - - - - - - 1 - - - - - - - + -                                                                                    13657.43
              CAP       l EXP   481.02                                          13176.41
        1----~--·- --~----i----- .:. ..·,.-----+----+----+-----+----+---+-----=-'--cc-~
                   CAP                 1
                                           EXP             192. 92             1                                                                                                                    12983.49
        · - - - - - · - - ·.....__-+-------- "·-·---=--::-:--::-::-+----,--,--,-+------+-----!-----+---+-,,_..,,-----,-I
             BRUCE KAHN                : ENG               300.00        1201                                                                                                                        12683.49
        . -· .. --"·--.NBP------:--ENG                      40.16        1202                                                   I
                                                                                                                                .&lt;'.

                                                                                                                                            -.  C----· - -    -        -
                                                                                                                                                                            •.

                                                                                                                                                                           - ·-·····- ·-             1264!. 33
              CITY BANK                    EXP             200.00
        1----.,....,.--::'-c-:~~~-c--+----------=+----"t-----'---
                                                                         56411               4,000.00
                                                                                                  ... - -        L--.:..
                                                                                                                                    4412 ! 30.75                                                     16412.58
              CITY BANK                    EXP            6755. 75                                                                              ;                                                      9656.83
        --- -CITY BANK                     EXP            6111.12              --~-----------···            -- ...                     . ..... -- ·-.   ------~--·--·--+-3-54-5.-71.c.....i

        _____g~ :~~-~ ·_ _ :~-~:· ··--=-!i-=...:o'~-~.o...=c:~=-o..__      ____._+____-__   =--- ------'--!
                                                                                                         ... -....-.....- ..   ----·-'-----'--·--'-_-_-_-~;~:1~·
,---.            RBFUC                     AUTO            313.00"-+··---+------l------1-----+---+---?R004Q
            ·----clriBANK-                 EXP              86.0!}             ·- ·-·····-·--·-·------········· -·                     ·-   ·---~--·---i---+---2-604-.4--10

             ---CITY-BANK ...... -EX_P. . . .--8'-60-.94--'--1----1---------- .... -.. ----                                                                                                            1743.46
                                                   -----'---+----1-------'-'-----~---+---~---j-
            IHS CONSULTING l:NG                            288.00        1316                                                                                      '                                   1~55 ..if6
              . . ·EN~·~G'---IN_E..,,._E-Rl-N-+--CE~NG-"-+--3~9-7.50--+- _,.f316 · - - - - - 1 - - - - - + - - - - - - - - - _
        5;-Y"E=-                                                                                                                                                                           =·- 1057.96 I
                        NBP
        ,___ _ _ _ _,___,_____ _
                                            ENG               39.40 - .1~31-7-+------1--------4----- '
                                                                  ___._~____,      ______                            ·-~··--··----+-·---+---+----
                                                                                                                                                                                                       1018.56. 1      ,.J
             C03A       TAX,                               100.00'        1Hi2                                   ,                                                                                       916.~0,
        :--CIWBANR---~- EXP !                         -    241.58                                                                                                  ----+-I-6-7-6:-98--i
        ,     CITY BANK                    EXP;           -29if37                                                                           --~----          -- --·                        1
                                                                                                                                                                                                         386.61
              CITY BANK                    EXP            ------l~r.u-9-1----+------!.--,-                                              ·-- .                ·- -~....... - + - ;-~--:&gt;2=-&lt;·
        1
        1-_ _     R_B_F_U_-c_. . _._._.-l-A_U_T_0+--,_3_1_3_.o_o-1---- - ~---·.... _·-_-_-----·-=--=--=--=--=--=-·=--=--=:,:======-·-_:~--:.·· . -46.52.
                                                                        __· ___
                 RBFUC       AUTO'          313.00                                                                   154.59                           -421.07 i
               NBP- -- -· ENG 1 __ 79.29. 1153                                   3,.000.00;                 4412                                     2499.73 i
        liisl.J~NCE o~.~_A__.__Au_r_o-+--_s_19_.s_o_,___·'--11__·54_-_· ::~-------'------+----+_.. _ ._                               ..__+_,....___..1. : _98=-=o=.2=--13:
                                                                                                                                                                                                       1980.23 i
        r----------·- .-.. -·-+-__c_B~'---+----+---s~.o~oo-··~oo_·~--                                                               4412 ..                       _ .. ... _                           6980.23 1
                                            CB ,                                            20,000.00:                              4412                                                   ! 26980~23
        1--------l--r.-'-_;RT--""".-                                                        20,{)0000·                              U12                                                    !         46980.2~
        t---------+--o.------+-··-··'"-~-L--                                                                          ---------=-~+----+---+--'c--~

                                            CB                                              20,000.00'                              4412                                                             86980.23
        ~---------1--c-==a-·+------+-!--t---(2-o-'-~o-oo-.-oo-&gt;i                                                  _ _ _4_4--'-12-+-------+---l--4--59-a-o-.23---1
        l----A..,,_,H----+-A-U_T_O+---a-1-a-.00-·•. -,-1-1.-66--"·1----:...:...(2-0-,0-00-.0-0-'+)---4-4_1_2-1--.. ~-.-- --·-. ____ ,___26667.23;
        t--C_H_A_S_E_B_AN~~KJLR             JR       20,000.00' 1318                    --·-44:r2                I                                                                                     6667.23 i
            ' -BANKCHARG                   EXP                 ' 1151 -- -··-·-·---1------+---6·.·35'···· ....                                                                                 ..      666tf87;
               Cl~F~B~ ~~--~..- +-;A_~X-~P-'- _~-+------=-~~-;-:~-~+--·=:,
                                                   ·                      =-~==-----------·--&gt;-.-....-..-.--,-~--- '--- ---~-~-~:E.-.-~ _ _;~;~
                                                                                                                                                .
,-         CITY DAN~                          c.xr   I     1,0$6.Q2                                                                                               ··-·· l                     4314.26
            RBFUC                         AUTO!               313.00
                                                                                                          ----1--------l--·.                                            I                     4001.25
---crrvBANK                                   EXP ;           390.30
                                                   --l---~---+--
                                                                                                                                                                        r                     3610.95
1MELOA CARRILLO -ENG                                 :         60.00               1271
                   NBP                        ENG[        ·~-6-1-.1'--84--1-2-72--1----.....-....+-·-···                                   .                                              3489.77
·e~.§ CONROLLE . TAX                                 i       :~!@.~~-. 1319_...._ _ _ _ _ _                                                                                               3239.77.
                                                                                                                                                                        !            - ·----~39. ii"
[-·   ..                                                                                                                . ..     ···---
               RBFUC                      AUTOi               313.QO\                              ____5,000.00                                   4412                                         7926.77
,--c-rrv-·~aANK      EXP , 2s14.53                                         1                                                                                                        4952.24
1 CITY BANK·-t-'E=o..X-=-P-+---6..,.....98~.39~----+-·· ... J&lt;1-.0,Q0;00_. . . ___44_12--'-                                                                         .. 4-----t--14_25_3_.8--15
           CITY BANK                           EXP    1     1,700.00                                                                                                                        12553.85
TATE CONTROi i F FXP                                            ;ono;              120;                                                        ·- .. ---..--l.-----'--1--·- '·               12503:85
               RBFUC                      AUTO                313.00 i                                                                                                                      12190 85
           CITY BANK-·'                        EXP- -----·9tt[oor----------"---•-                                                        ---··-1- ~- __ "..                   •
                                                                                                                                                                                            112at1'.2s
,._S ROMO TAX RC TNf .                                          -t3.86             1206                              ... -- --                                                               11236.39
                                          ·-·EXP                                                         --·414.'73 ---·-·                         9721                                      11651.12
               RBFUC
       -- -·c·ITY BANK
                                              Auto           313.00
                                               CXP .......-203&lt;):.:54                                                             .... ·~ ····--····--·
                                                                                                                                                                                     · ··11aaa.12
                                                                                                                                                                                               850? .·se
 S-ROfvi:)'tJ\x RC                        i    TAX           590.00 1200                          .... !~000~00                                     7312 ·         ·--- ....                 17917.stf
,...S~ROMOTAXRC                           1
                                               TAX          1,898.35---1269~                                                                                ,                                16019.23
---~---Rf.il-uc                         .. '"AuTo~313~oq                                                             ·- ·--           ··----~               l                        ·--iiToe.23-
           CITY BANK                     --    EXP            742.96                                                      ---: .., -----·                   I                                14963.27
,___._RBFUCf -- ..                        :AUTO               31.3J)O               ... ·t· --····                                                          !                               14650.27
      . ·-------·                                        111,065.68 ---......--124,107.16                                                100,861.00:191.70 ----
----·:·· ..    .   ........                                                                -------            ....   ~---        -·                                            ---   -·   __ :.. --··---·-·-··-
 -----· ....   -·-------+---~----+------


                                        ·-·-·             ORIGINAL                                       1 800.49                                                                       1800'4.9
                                                                                                                                                           . ·------·--·-+-----+--___:.::::.=.=-==-i
                                          I
                                                          4412 HELV:TIA -r·
                                                                         . t --·--=-----+-------!--
                                                                              113,692.43                                                                                    '-------+--------!
 ~----··•·                    ...
                                                          7312 H GO ..o                    I          10,000.00
                                    ···--------:---+-~-::-=-::-=t--+--.C.........:--'--+-------+----+~,---J-------l
                                                                                                                                                                              •
                                                          9721 JOA8ERT                    _4 _______. :. .:4:..:. 14..:. ::·. :. .;73;::..i. __ _I,._·_   _...l_ _ ___j._                      221&gt;.22
                                                          SUB TOTA.                        '       125,907.65                                     ...                        ·-----~128122.87
                                                          EXPENSE~                                 111 ,065.68                                            -~-           . ---- . -        -2-39f88~55
                                                                                                                                                                                          254030.52



1---------·-------


r---------··-·· .. ·-·----+-
                          JLR·---+-------1------+------.l-.---
                                          24;000.00
      -------1---l---~--...r-:----+--··--··-·· ·--·~---1--·----------+----+---+----
                                                                                                                                                            *-*****' ............. ···--··--·------·
                                                          ENGtNEEF NG                                    1,466.32                                                           "****,....
                   -----t--txAnUTTI"Q"\""EEXViP
                                              51E~NHSiEiE~--;3~.9"'6~2~.5~0----+----1f-..:.,..=·=*d-.....--·--~--
r------t---'--'-t------"'---+-.;._:____-I--~==-==-+--                                                                                 •·• ·-·- ·-- -·-~--IC------                         ----C--·-··--·-

                                                          EXPENSE                                     26,320.04
                                                                                                   111,257:~8                   '. ...
                                                                                                                                                     ~-1·--·-····
                                                                                                                                                1---~-..                                           .- .
t=_-·--·~____._----1·-·.
                                                               ···-----~···-   ------
                                                                                                   111,065.68!
                                                                               l                              191.70                            . · ---: __ __        1·' --~ ___                                 I
                                                       ·-                                                    ]
                                                                                                                                                                      '
    Date ..                       Child Payee                                                                                     A~it                                    Deposit                         Who                                   Bank Charge !nterest
        2011                          1117
                                                                                             -    -                                                                                                                                                                         -.
                                                CAPITOL                                                           EXP                                 100.00                                                  ··-
                                                CAPITOL                                                          't:Jl.t'                             .,w.oo
                                                TRAIL INSURANCE                                                   EXP                                 150:00                                                                                              ..                                         .... -
:
                                                                                                                                                               ·-               3000.00 UNKOWN
                                                                                                                                                                                                                                                    ·-
                       02/24 1129' llMELKDs                                                                       OFF                                      60.00                                                                          ..                                                   -
                             1131 SILVIAROMo                                                                      TAX                             2869.31                                                                                                                                                             '
L--.-
                                                SILVIARUMO                                                       .TAX                             -··                           5000-~                    &gt;.I.AMO
                                                                                                                                                                                                                                                                               ·-·~


                                                                                                                                                                                                                                                                                  ·-
                                                                                                                                                                                                                                                                                       !


                                                SILVIA ROMO                                                       TAX                                                                400.00                                        9721
                                                l-IOWARn l                                                                        ..                                                                           -
                                                CAPITOL                                                               EXP                          4000.00                    20571.26 .ukn                                                    ~




J..-- ..          ..                                                                                              -di
                                                                                                                      ----                          200.00:                                                                                               -                                         ·--
                                                                                                   ...
                                                                                                                      YNK
                                                -·--                                         -                                                             ·~--··--                                                                                                                                ---
                                                                                                                                                                                                                                                     --        ~-




'             '1133 EZDRIVE   -
                                                                                                                      ENG                                   23.'55                              ,_...,.
                                                                                                                                                                                                                                          ··-                                                  --
:             ; 1134 BL LOAN                                                                                          BK                               500.5.00
                                                                                                                                                                                     "~--- ~




                                                                                                                                                                                               ...                                                  ...                                             ---
                      SLYVIA ROMO                                                                                     TAX:                                 105;16                                                                                                                                               ....
                     ,UNKNO\AIN                                                                                       UNK-"                        ~,{)()
    l
                                             -·.··
                                                1.INKf\10\NN                                                 ..       UNI&lt;                                 959~19
                                                                                                                                                                                                                                                                -                                       --···-
                                                                                                                                                                                                                                                                                                              ..:--
                                                AuG2011                                                                                                                              ..                                                         .AlJG2o11
                              -                 SEPT 2011                                                                                                                                                                                       :SEPT2011                                                      ---
                                                                                                                  j
                                                             -- -                                                                                                                                             .. -                                                        ...
                             ·-        1102     ALICIA. MINO                                                          ni;:F           .,                    i;?     no                                                                                                                     '
                                 1232 NBP
                                                                                        ·-
                                                                                                                      ENG                           233.18
                                                                                                                                                                                 '                                                                                                                   ·-·---
                                 1233 COSA                                                                            TAX                          1600.00
    !
                                                                               ·-·                                                                                                                                                                                    ·- . ··-
                             -·' 1234 C08A                                                                            TM                                    25.00
                                      . 1237 OOSJ\                             -· .                                   TAX                          1360.QO
                                       1311.AT&amp;T                                . --
                                                                                                                      EXP                                  122.31
                                       5637.CITI                                                                      EXP                                  200.00                                                                                                                                                         I
                                                                                       ---·.                                                                                    ·--·
                              - 5638
                                ®"9
                                     7318
                                                                               -                                      7318
                                                                                                                      CXP
                                                                                                                                                   1000.00
                                                                                                                                                      ·z.oo.oo,
                                                                                                                                                                                                          ;                                     ;
                                                                                                                                                                                                                                                                    ..                                     ---
                                                                                        ,.--
                                      CITY                                                                        :EXP.. ... 2s2s.12T
    _,_                               CAP                                                                             EXP                          1434.39                           5000.00                                       4412
                                                                                                                                                                                                                                                                                                        ----
                                                                               --                                                                                                                             ......                                                      ..               '
                                       1312 IMELDA                                                                    OFF                                  --00.00
                                       =9 CllJ                                                                        t:J!.t'                                '                               l~l.3.3~UV                                     10.uu -...
                                                                                                                                                                                                                                     ---
                              -- "f14s
    ....___,.                    1146                                                                                                 SPENT                                                                                                         INCOME
                              -·-- .1147                        --                                                                    T~X                                       6f71.64                                                             HEL --· -                                       5400.00
                                       1148
                                                                                                  --     .
                                                                                                                                      EXP                                      16472;31                       ,...;.;.
                                                                                                                                                                                                                                                    UNK                                            23571.26
                                       1149                                                                                           'AUTO
            ...
                                       1100
                                                                                                 ---                                                                                   957.50                                                       Al.AMO                                          500600'
                                                                    -·-···-
                                                                                                                                      OFF                                            1597.00                                                        TOTAL ...  33971.26
                                       1'1!&gt;1                                                                                         UNK                                        5959.19                                                            BC
                                                            ·-----                                                                                                                                                                                               -1000
        -
                                       1152                                                                                           ENG                                              2'63.21                                                      TOTALINCC. 33961.26
                                      1153                  -                                                            ...
                                                                                                                                      7318                                   -1000.00                                                               SPENT      32820.85
                                       1158                                                       ---                                 BK                                   .. 500.00                                                                DIFFERENC   1140.41
    1----                              11!;;0
                                       1100
                                                                                                                                                                                                                                                    INITUU
                                                                                                                                                                                                                                                    CAL CK
                                                                                                                                                                                                                                                                            CIC        E             6~
                                                                                                                                                                                                                                                                                                    1800.49
                                       1161                                                                                                                                    32820.85                             11/0811989 Cl!:BAL                                                              1800.49
    !                                  1162
                                                                                                                             -·                   ·-. -·                        32&amp;20.85 11/081198!) CONDlTION                                                                                           -o.oo,
rJC),.;jEiif-Fi u..co..
                                                                                                                                                                                                                                                                          --
    Date                       Cheli Payee                                                                          Amount                Deposit               Who                          Bank chariie Interest                                               Balance
         2010                      1117                                                                                                                                                                                                                            2045.44
                                                CAP1                                                 EXP                      100.00            2000.00 uNif                                                                                                        3945.44
                                                CAl"1                                                 EKf"                     7~:00·                           ,_,_
                                                                                                                                                                                                                                                                   :»070.+4
                                                                                                                                                           -
                                                BEXAR TAX                                        .;TAX                        1~;1)3'                                                                                                                              3705.41
                                         - BEXARTAX                                                  :TAX                     172.12                                                                                                                               3533.29,
                                                                                                                                            --···-
                                                BEXAR TAX                                            lTAX                     175.~5
                                                                                                                                                                                    -···     ...... --   ·-·-----·
                                                                                                                                                                                                                                                                   335.7.94;
                                                DCXAl\TM                                             TM                        IOll.pf*                                                                                                                            ~1TZ.l)0          ·
                                                                                                                                                                                                                                              ~-


                                                BEXAR TAX                                            TAx                      186.46                                                                               ·-   ..      ..
                                                                                                                                                                                                                                                             I     2965.89
                                                BEXAif TAX.. --                                       TAX                     191:66                                                                                                                               2794.23i

l=--                                            BEXAR TAX
                                                 D~Tl"IX
                                                                                                      TAX
                                                                                                      T~
                                                                                                                              211.42
                                                                                                                              zoo.oo                                                                                                             .....    ~--·
                                                                                                                                                                                                                                                                   -2582..81
                                                                                                                                                                                                                                                                   2:&gt;Z:&gt;.e;;i;
                                                                                                                                                                                                                                                                                     !
i
                                                BEXAR TAX                                             TAX                     276,28                                                                                                                               2047.67
                                                BEXAR TAX                                             TAX                     346.72
                                                                                                                                                                                     -                                                                       '     1700.95
                                                                                                                                                                              ---                                                                            ;

;

r-----···-·-
                                                 BEXAR TAX                                            TAX                     $97:60                                                                                                           --                  1103.15
                                            , ijl::.Mt( IM.                                              I~                   t&gt;/:&gt;.~:.! ,,_                                                                                                                        u1.&amp;.l
                                   9030. CITI CARD                                                       EXP                  100]0             ··soo.oo CONTOUR                                                                                                     727.83.
                                         CAPONE                                                          EXP                  376.00             ·soo.oo        CONTOUR                                       30.09                                                  821.74
                                         CAP.ONE                                                      EXP                                                                                                                                                          -·a2·1:t4
                                                 GAJ:'UM::                                            ·~t'C        ·.                           1UUU.UU 4U.1 Ht:L -·-t-                                                                                             16;!1. (4
                                                 CAPONE                                               EXP                     200:00                                                                                                                                1621.74
'----'--- --·-··· ·--
                                                 CAPONE                                               EXP                    1000.00                                                                                                                                 621.74
                                                 ClTI                                                 EXP                      24.21                                                                                                                                 597.53
                                                 l,.;I fl                         ·----         CAI"                                             1~_9.~t 5/03UNK                                                                                                    19U3.13
                                                                                           --- WC    ---
                                                 CITI                                                                           58.401                                                                                         '"'
                                                                                                                                                                                                                                                                    1844.75
                                                 CAPONE                                        .EXP                            163.a;&gt; !
                                                                                                                                                                                                                    .-....~


                                                                                                                                                                                                                                                                    1681.75
                                                                                                                                                                                    --~~··       ···-·--·----·--·
                                   1118 NOTARY ASSN                                                      OFF                    72.95:                                                                                                                              1608.80
                                   1119 HEB'NJJO I Al.:J;:)                                          ·AUt.\.                    !13.W                                                                                                                               l::l;,.;l.;;IU
                                                                                                                                                                                                                      ·-- i---··---
                                                 cm                                                      EXP                    55.34                                                                                                                               1498.16
                                                  C'AP ONE ----·                                         EXP                  500.00                                                                                                                                 998.16
                                   1120 NA1'ioNAL·ai:.u&amp; -··                                             OFF·-          -·-~--ra.oo       ...                                                    --·-----
                                                                                                                                                                                                                                                                     980.16
                                   1121 EMEWA~RIIa                                                                           ---SO.OO;                             ··~--                                                      ~·-

                                                                                                     'Uf:F                                                                                                                                                   ~-92~
                                        CITI                                                             EXP                    92.93'                                                                                                                                827.23
     ·-·
                                        CA.PONE                                                          EXP                  300.00,                                                 --         ~.   -- .......   ·-···-· ··-·---
                                                                                                                                                                                                                                                                      527.23
                        ·-         --            CAPONE                                                  EXP                   300.()0j          1000.00 HEl..VET                                                                                                    1227.23
                                                                                                         exp" . ...!19:~
                                                 CA.PONE                                                 EXP              . ... - -----··-                                                                                                                            921;23
                                                  CAPONE~                 ...                                      ~;oo.:
                                                                                                                                                                                                                        --                                            627.23
                                                 lMELDACARRILLO
                                                 Al,JCIA HINOJOSA
                                                                                                         OFF
                                                                                                         EXP
                                                                                                                                60.001
                                                                                                                                38:53;                                              -· ----                                                                           567.23
                                                                                                                                                                                                                                                                      528.70
                                                 EZDRIVE
                                                 NBP
                                                                                                         OFF                    39:00'.
                                                                                                                                19.35:
                                                                                                                                                                  _......                                                                                             489.70
                                                                    -------·-                            OFF                                                                       ---            . -·---··· ----                       .     ---     .. -
                                                                                                                                                                                                                                                                      470.35
                                                 CITI                                                'EXP                     150.00                                                                                                                             .. 320.35
                                                  CAPONE                                                 EXP                  200.00                                                                                                                                  120.35

    '.
                               l

                               :
                                                  CAPONE
                                                 HOWARD KAHN
                                                  BfxAR 'CCiiJNfY ... -
                                                                                                         EXP
                                                                                                         LEG
                                                                                                                              100.00
                                                                                                                             2100.00        1000.00 HEL
                                                                                                                                                                        - ... ..
                                                                                                                                                                                                                   --- __     ..........,.

                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                       20.35
                                                                                                                                                                                                                                                                    ··--
                                                                                                                                                                                                                                                                   .-1079.65
    ~--·                                                                                                 JAx                  116.00  ....•.1100:00 HEL
                                                                                                                                                               ·····        --~·                                        ·-                         . ..
                                                                                                                                                                                                                                                                     564.35,
                                                  CITI                                                   EXP                   50.00         100:00 UNK                                                                                      554.35
                                                ,C/lf&gt;ONE                                                EXP                  100.00         168.&amp;3 HEL                                                                                      623.18
     ______ .,                                  .C/iPONE                                                 EXP                   600;00        586.90
                                                                                                                                                    tff~~'-···----- ···- ········ ....                                                   •   610.Q8f
                          __   1-...... , ___        ....... ____ _, __
                                                ;.,,._,.._~




                                                                            ""   ...            ..                                                                                                                            .. ·---· -·--···---~
                                                'C/lf&gt;ONE                                                EXP                   100.00                                                                                                        510.08
                                                  cm                                                     EXP                   100_00                                                                                                     ___ 410..9.8.
                                   1141           cm                                                     EXP                   150.00        400.00 HEL                                                                                        ·-                     660.0&amp;
         DEC31
     --·-..     --~··~·····-
                                   1142                                                                                                                                                                                                      ---·----·--·        ,_ ··ua:oa
                                   1143                                                                                                                                                                                                                              660.08
                                   11414                                                                            !     1161£6?               10?f\1 ~"
                                   1145                                                                                                                                --                    l
                                                                                                                                                                                                               30.ClQ

      ---- ...
          ..   1146                                                                                                 SPENT                                                                    i!NCOME
               1147                                                                                                                                                                                                ----·-
    ------                                                         ...                    ·-·             .....   - TAX - . ,_ ..               3558.61'                                         HEL                                 5855.73
                                   f1.4R                                                                            FXP-                    ·-·5flj3~41                                          UNK                                 3405.62
                                   1145                                                                                 OFF                       269.30                                         CONTOUR     1000:00
                                   1150                                                              :                  AUTO                        55.30                                        Tu1AL      10261.35
                             1151                                                                    '                  LEGAL                    21.00-.00                                       INCOME-· - 10261.35
L...._...-.
.                        ·-----·u~
                               I   1153
                                                                                                                        RANK CHAR
                                                                                                                        TOTAL
                                                                                                                                                     30.0!'.}
                                                                                                                                                11646.71
                                                                                                                                                                                     ..   _
                                                                                                                                                                                                 "ffitALINU: 10261.35
l---·                    ·· 1159!
                                   1156
                                                                                       --···~-
                                                                                                                                                11616,62
                                                                                                                                                  ,Jo.09 1                         ERR Dli=FERENC
                                                                                                                                                                                                 SPENT
                                                                                                                                                                                                                              ·~i~~~~t~-~
                                   1160i                                                                                                                                               INITIAL CK i . '2045,44,                                                     --·-· ....
                                   1161                                                                                                                                                          (;ALCK                                      660.08•
                                   1162
                                         ·.-
                                                                                                                                                                                   E~            CKBAL.                                      660.08
                                   1~63                                                  .,..                                                                                                    &lt;;_&lt;)NDITION                                   -0.00
                                                                                                     . ·-&gt;&lt;-·.-!
CONTOUR ACCOUNT
...
t


r--:-
     1
     2
         --
         f---
                              --j cONJ~UR HPnLs
                                                                                                --- ~
                                                                                                        i
                                                                                                                             ...
                                                                                                                                                              -· --·· ...
                                                                                                                                                                                                                                    -···
                                                                                                                                                                                                                                                                                                  . ..
                                                                                                                                                                                                                                                                                                                                                         --··
                                                                                                                                                                                                                                                                                                                                                                                             .

                                                                                                                                                                                                                                                                                                                                                                                             ADJ TOTAL
                                                                                                                                                                                                                                                                                                                                                                                                       -·- · · -


     3                        I    2010F              i ~011F                                               ~12F                                   201JF                                         2012RB                      2013Rt...                            SAVINGS                                          TOTALS                          ADJ
                                                                                                                                                                                                                                          ·~-~                                                                                       -                                                                                  ··-
     4 INCOME
     6
                        ---
                              i                       i
                                                                                     -- .                                                                                   _,.,_
                                                                                                                                                                                                                   -····                                                                                                   -                                                                                ··•"

I
                                                                           -- ·-
                                                                                   8f,113.60
                                                                                                                                                                                         ~-       ···-   ---·--·                                                                                         ---
                                                                                                                                                                                                                                                                                                                                88,113.eo'                                                             88,113.60
     6 SALES
     7 UNKSOURSE
                                                                      -·            2,901.90
                                                                                                                                                               -·-···. ---        .:..
                                                                                                                                                                                                                                                                                              e7ifoo                             3,579.90             887.00                                            4,466.90
I
  --                                                                                                                               -~   ."                                                                                                                              -.                                                                                                                            (4'..428.44
     8 BK                                   562.25                                                                                                                                                                                21,ID4.70                                                                                     22,486.95.       {Ei3;8Ss.39
~ 441~ HE~                                  ..                                     1f,OOO.OO                             1~*.100.00                            140.00 298,030.84                                                 160,C41.20                                                                                   845;312.Q.( ~-J645,312:04
10 SA\ANGS                                                                                                                                                                                                                       (20;COO: o.:cY                                                                '               (20,)00.00 . ··-   20,0CO.OO
                                      ---·· ·-
    1 'I 7312HEL GOL.0                                                                                                   '(00;000.00                     zsoo.oo                                                                       ·-···-      ''"
                                                                                                                                                                                                                                                                                20,000.00                                     122,s~q._90       (122~5CO.OO
                                                                                                                                                                                                                                                                                                                                                                                                                        ·-·-
    12 JOA3ERT 972;.                                                                                                                                     4,000.00                                                                                                                                                          ... 4,:mo.o.a           (4,0CO~OQ                                           -
                                                                             -··                                                                                                                  -..-.....                                                                                                                                                                                      ...
    13 OtV       ...                                                                                                                                                        ...              "   ·-                                                                                                                                                                                          --
 14 NAT                                                   -· ·-                                                                                     ... ··-                                                                                                                                                                                                                   ...
 15 ALA~O                                                                                                                    ......                                                                                                                               . ..                                                                                     ...... ·.·   '"


 1S COfffOUR                                         '                                                                                                                                   '                                                                                  .51,223.3'1                                        s.1,2n:37                                                '
[17 TOTAL INCONE                         562.25:                -·    .
                                                                              10(015.50                                  272,100.00                      6,640~.09).398;030.84 . 161Ji4$:90                                                                                 71.901.3i                                       e11.1es.ae                   (814,8~0.4~~ -                                51.152.06
 1a
 19 O.UJGOING
                                                ·-                                                                                 ..
                                                                                                                                                                                     t
                                                                                                                                                                                                                                                                       "'       .:...,:                                                                           ..     -
"20'
                                                                                                            ..........                                                                                                                           -··-                                                                                    ·-   ..   -                                     ;
                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                 ......   ,..                                                                            .. -- -                                     "                                                                                                                                                                                       ...
    21TAX           -··.                                                 ..                                                                                   219:CXH                                      525.00                    16,784.78                                                                                 17.528,.JS                                                              1'.!&gt;28.78
  22  JR         ..
                                     '
                                                         .. -
                                                                                                                                                        22;691.SS; 16,296.90_ .                                                     43~~1,5.63                                                                              .. ~2,303.0_1                                                              82,303.o1
                                                                                                                                                                                                                                                                                                                                                                                                        --~

--"f~.BK                                      --                                                                                                         1,300.~.                                                                    38,C58.19                                  24.537.20
                                                                                                                                                                                                                                                                                       .:                      :;
                                                                                                                                                                                                                                                                                                                               63~~5.39                    (63-,8E5.39
                                                                                                                                                                                                                                                                                                                                                             .. :8E7.00
                                                                                                                                                                                                 .H·,~~



  2.4 UNl
     '02101          --                                                                                                            --~-~~--                 1.u~·?n
     ' 03/01
                                                                                                _.....,__      _,_____,~                      ~-+---&lt;-14.ts.20


     '04/01                                                                           --I-+--                        (Hf .   .... _ _ _                   ·-1445.91 .
     ·051o·-1-+-P-R                             100.00 I              --+------                   50000;00 CK : - ----                                   . S1345.91 .
      06/0-f+-'--'---                                                                                                                 ~()~28         -    51346.19
      07/01 -------· - · - - - - + -                                                                                               - 15.76
      08/0f''       .. _____ ,. ..                                                                                                                        51361:95
                                                                                                                                                          51361;95
     08/0 1· CHECK                           00000,oQ                                                 $7S.OO                                   ·-T-+---=220-.10.. - - - -                                                                       ·-.,,.-20-.1=7           ----   25.00
      10101                                                +------     -~-·-    -----
     '11!01         --·----               ----,----!-        ----·          -----~.-+-,         - - - - ·.-
                                                                                                                                                         ~'.oo
                                                                                                                                                         -25:00
     t21o1=-+--                                                                                                                                                 7.6[
     t2/0f BK                .....        ~5(04
                                                                                                                                                                 0.00
                     .TOTALS ----     ~'952~69+----                                                                                   46.32              46-1353.971
                                      - - --·-:....-- -+--- -----·
                    --CHECKING        ·      48066.53 INCOME             ----- .......




                                                                                                                                                     "
                                                                        R.ililt ni PH RRon~-'-~·-,f":+.+-r11_Trn._·-•+---1---


   ~
        -·     ·
        -      2012       -      ..               . ·-       -·--+----+---                                                                                   -----+----+-

        - DATE NAME-                                          .         HRS RATE; TOTA SS                             WH      OTHE AMOIJN-T-~---1.-TY-P+C°K ~9/1 D~_~QS-IT BALANCE.
:-..          --oTTlS Vi'll.Dr!MC~r:: LCt\MA.                                                                                              az. 00 p        10 I                   .:Si.oo
               07/30 "CASH DL                      - ---                                                                                 -400.00 ,DL       104 ,__ -           -:400_00
         8 "01119 ETHAN MccAt:I--  40.75 - - 1.2                                                     489    2a 1           41  ~2ot       440.00 IF&gt;      1001       sooo.oo    4560.oo
       "'7 07119 DON SHOEMAKER - .    24 11.25                                                       "z76""15 r+-2r                       228.oo p       -1002        50Cf00 - 4832.00
         7 07/19 WELDEN SHOEMAKER     16 · 14                                                        224    13             11 .                           200.00 P                 1003              1500.00             6132.00
   ! -,.      --07/19 FREOSEEHA.lfs8r···-                                       32          9        288 16                1i.       36                   219.00 p                 1004-1400.00                          7313:00
   L----- r·o7719 AG                                                                                                                -3~                       36.oo f&gt;        ·    1oos                                  7277-:-oo,
       7 07/19 h~ l=NTF=RPRISi=-                                  .                                                                                      7000 00       S   --,-10{jff--·· ----                         ---:i:\777on
   &gt;--7 07/19 VALDEMERE LERMA·--·                                               ~f.        16        544    31;         --32                              481.tlO p""              1007'         . ..                     4796.oo
     7 07/20 DiXIEOIL                                                                                                                                    2898c00 D                 fooa                                   1898.00
   1--7
         ·T
         a"" 01126
                        VOID
                        CASH
                        ETHAN MCCAU                                             40· - 12j 480               27
                                                                                                                  · --~·--
                                                                                                                           41        20
                                                                                                                                                     ·   ---zfi
                                                                                                                                                          39
                                                                                                                                                              ··-~. V

                                                                                                                                                                  0 p
                                                                                                                                                                       1oc·
                                                                                                                                                                                   1009:------
                                                                                                                                                                                   1010
                                                                                                                                                                                   1011
                                                                                                                                                                                                · -..
                                                                                                                                                                                                                          1898.00
                                                                                                                                                                                                                           •oso.oo
                                                                                                                                                                                                                          1315600
         7     07/26,LlONSH~AKER                                                40       1t25··      450    25             45'               ---'-        3.95.   ~p               1012                                  ·'edoo
         7 07126 WELD_E,N SHQEMAKE,R                                            ··20       14: 280. -16                                                   2$4;00 P                 1013                                    647.oO
               vr1z.c l"RED SEEHAOSEN -·-                                          ~       . 8 _¥"u' '!ts '                HI        .:io·   251,00 p ·---im"4·                                                          --"396M
   1-,=1 01ri6          AG                -              ·             ,                                                            ~36 --    36.oo P .· · 1015 ~--                                                        35o:«:Jo
   ,_ .7 01126          VA[BEMEREJERMl\~75.                                                16        14s ·12si                    - --~--·a-20,00 ·p -- 1016 -                                                        --· ~26o.oo
      7 e-c07t26        VALDEME~E l,,1;_B.MA                                       -~  W . 100                                             - TOO:OO P~ . 1017~---,                                                        -360.00
      8 08J24       DON SHOEMAKER                                                 32 H.251 360              45                               315~00 P      1018                                                           "675.00
   1-----=--8 08!24 WELDEN SHOEMAKER.                                             20    14 .. 280           16                               264.oO P      1019                                                       --_939~00
         a·   0~4 FRED-SEEHAUSEN.                                               . 40     8! -·3.20          41                       36      243.00 P      1020_____                                                    -1182.00
       -(f   i:i°'2"1 AO - .                                                  .-                                                    -36                       00.00    r           ·1021                                -1218.00
        -8 ·-08/24 VALDEMERE LERMA                                                 32·     16! "5:t2        58                                               454.00 ;P             1022 ·                               -1672.00
       ··a     00!24VALDEMERELERMA                                                  4      20· "so                                                            80.00·P              1023T                                -1752.00
         a            · :\iOib            ·          · ·                                                                                                               v           HJ24 ------~~~ •                     -175200
         8              VUllJ                                                                                                                                          V           102:5                                -17::&gt;2.oO
   ! B o8i03 r;JEXAR COUNTY SWPPE MIT                                                                                      - - ----r----                     000:00 CF'- -1026 ----    -- ---=2252:00
--!81--08103 FRED'SEEHAUSEN        40·-- 6                                                           320 ·33                         36                   251.00 p       · 1027&gt;----·-       -250'.foo-:
    8Tli8io3 vvELDEt.fSHOEMAKER    ,20, 14                                                           280    27'                                           253.00. P-    - 1026               -2756.00
     8 08/Q3 DONSHOEMAKER          32:11.25                                                          aao·   62.:                                          328.()() p          i    1029                                 -308400
   •-8 08/03 VALDEMERE LERMA-·...    5   20                                                          160                                                     100.00 P              1030          _!l!...    -- .. --.§184.00
     8 -08/03 V"[DEMEREL~RMA       40    16                                                          6.40   6()                     .-                    •~~L---~~1                         --___                     ~3'.i4.00
   1~8         OSlA RS                                                                                              100.00    e            10;:)0                              -0604.00
       .8      OBI06 lMEibACAMMILLO                                        ..                        . ..                                                ---60.00 M                1037 ~--- --                         -6924.00
   ' .8 I 08/06 VOID -·--~---.--                                                                                                                                       v           1038 ~--                             -6~24:00
    ,-··a~ 681'09 ooNsHoEMAKER-                                                    40 n.25           450                   s9                        -       381:00 F&gt;             1039                                 -7s05;oo•
    . 8 08!U9 WELDEN SHOEMAKER                                                     20•  14           280                   16                                248.00 P · -'f040                                          ·.7553,0Q.
         8 --08/09      FRED SEEHAUSEN                                             4()'  8           32{} ' 18'            23        36                      243.00 p - 10.iff -- 1000.00                               "::ij79s.oo;
         a     08/09 AG               ·       .                                                                                     .:35                      3'6.oo   P             1042&gt;--·-100.00 ~872 oo
       .. 8    0810!'.l VAJJ:lPMt:iRt::TF"Ri'itl\- . - 40                                -1R·        Adn    ~          - 4A                                  ~i;i\--00 P~-        -·-1043&gt;-- SOOJlO   -6!1~!100
   1---c-8 -08/o9 VAL.DEMERE ~RMA                                               -~5        ZO         100 ~ ----.                              __            100.00._L --~ 1   ~!_1_782                 812: 16
            a 08/to,&amp;Off"IVE-                                                                   ,                      .        .            ..              202.49    s        -ss37.49
                                                                                                                                                                                   1045                 1s2;s2.
        ·a 08116TNATIONAl 8L1IEPR1Nr ·                                                          i-   ------,-         ' - - - .· - · :       --~.33 ENG -1046' - -- - 400.00~-- -5276.ai
   t----=-0    06110 TXPMR CttAlNO'AW                                 -· --                -· ' - - - · -                            .                       59-4.10 c              10-47 .          '""ooo.oo         . --'-4071.00
   . 8. - 08/10 CASHDA'lLABib.R:ER                                                                                                . : .   T-                 500:00 DL              1048
                                                                                                                                                                                 3200.0(f -2171.00
   ~-8 '. 08110 TXOPMR PAFffs·-.- - -                                                                             ·                                      _ 121.59 E - --1049 25000.00 -227_07.41 I
     8 08110 CHASE BANK MIUXER Tl ETH                                                                                                                     2812.00 E     1050 ··--;:--     19895.41
       ~~8     08/17 CASH                                                                                                           . ____:&gt;Ula!U DL __ :_:105"! ___ ,.__                                             -:::_~~~~
         8     08117 DONSHOEMAKE!R                                                 40. 11:25          450                  SQ             38'1~ P         1052                                                          19014.41
         8 OST17        WEL[}EN:SHOEMAKER c ·20 - 14                                                 200-                  16 - -            ----~ooP-                            ··1053 -- . ··--                    "1875Q.4~
         R Mi11         FRmsF=t:HAusE:N .•., 40,_ -~
            8 ··Dll/1f.~•                 --·
                                                                                                     ··m--:::ra            2a     36
                                                                                                                                    -36
                                                                                                                                                             242:92 P
                                                                                                                                                              36.00 P
                                                                                                                                                                                   ~-
                                                                                                                                                                                   1055-
                                                                                                                                                                                                      _____
                                                                                                                                                                                                                  I
                                                                                                                                                                                                                        18507A~
                                                                                                                                                                                                                        18471.49
-~-~, 081·1r~EMERel.ER¥A                40      tff_~~~-    46, ~-=-- ~~.P           "Hl56~-~----'-- 179_13.65
     8 08117 VALOEMERELERMA               5     20 100.             :.    100.00.P   1057_ --~17~~3.65
   i s;-6im1 OQNSHOtMAKER-              .4(!'°1125 A.sot-   fig    i      '.IB1 OO'P 10!18           17432.65
   r a1· 08J31 WELDENSHOEMAKER          201 14 280        I
   []! . 08!3.:! fREO.SEEHAUSE_t~L ___(_-~~-~ -~~ __ . __ -~
                                                            16   '     -~·~fi-~~--
                                                                        _ 2__¥.00 P  1~_9 ~- _
                                                                                                     171~~~
                                                                                                   _ 1692~.65
                                                                                                                                                                                                      __-_--
  r--=-r-==~c=--

     B      Otl/91     l A~
                                     --· ··----·   -·· .. .,._ --   -~-~~---

                                                                                                t                            -·--r-~1                ·       as:oo 1?          1061                        16aes::-ei;-
     8 081'31 VALDEMERE LERMA                                           ·- ·40            16! 640                                58!                       562.00 ;P           1062                        -16300.65
  ~8-1-.,.06/_3~11+,-'V=ALD=··~e_M_ER_E_·:_LE_R_MA_·__-t--_ _5 -.~or, ~1.00                      100.00 p                                                                      1063                        16200.65
       8   08l31 'VOID                                     :                                              p                                                                    1064                .,i--16200:65
-- - --o- -~IT~f=AL'o - . - . - .-- ---··--+-1=0-1---1""'4~,-22=-:-,.4-t--oz"""4-++--·---..-·---:ioo.o_o_ P ·                                                                   1005 ·· · -- ·         !   10000.00
       8 08/31.JERRYRICHIE ---- .. --..         16 ... _1~! 208 21 l                           ~T87.o6 ·p -
                                                                                                 105.67 p
                                                                                                                                                                               · 1ti66
                                                                                                                                                                                 1067
                                                                                                                                                                                         ·-·---=i:. -15713.98
                                                                                                                                                                                                     1§~19-~~
       8 08/31 •ARMONDO LERMA                    8      14 '. 112     6 ·               .
      8 08/31. FRED SEEHAUSEN BOBRIPJ,.E                                         i      f       .aon.~1eR                                                                       1oss ·----.;-~14913~8
                                                                                                                                                                _I;_ Iv                                    14!1T3.98
                                                                                                                        -.:--r-r--..--=--=w=
                                                                                                                                      ,      •   1 .

  1--+---t----------t---+---+---·-                                                                   -~~~-                                  =-=~~~~----=--+--1491j:98_
                                                                                                                '      !              JV
                                                                                         ·----1 --·· ·--- - ·-·-;--·~t··--·-·------·--rv--- -------!"--· ~--·-·-·-·-·
                                                                                                                                                                      I 1.4913.98
                                                                                                                                                                        1A013.08
           09/05! SAWS
    ··,---r--· ·-~----.....__,.···:----- ... - ... ...........
                                                            --~--        ---&lt;---~---+---++--~---~-~~-+--~------+--~-c=--i
                                                                                                                                                           1060.00 W            1069                       13853.98
  ,___,.___09_1_05__,i_V_AL_D_E_M_E_R_E_L_ER_MA_··_+--_24--+-_16~:_384                                                           36 ..           ;          346,00 P            1069                       13507.98
  1---i--=:~·~=~-·1-;1 ~~~~R~EM_Y_R_IC_H_IE_·---t-----+-----+-- _. _                                                        __   ---~=-=~~=- ~~                                                             ~;~~::
     9 09/~IMCOMASONRY                                                                                     !                                  !     ,      2000.00jKL           1071                       11284.98
   ··9-00/051WELDENSHOEMAKER                                                  20                     14: 200                            &gt;-_1!!.;.:__+-      264:001P            1071                       11020.98
   -9 09/051 JEREMY RICHIE                                                    24                     13 j 312                              39 l . •         273.0() j P         1072                       10747:98
                          I
     9 09105 FRED SEEHAU$EN                                                         40                 8 1 320 40                             ; 35 j        244:0() 'P          1073                       10503.98
  1--o-9+--=09/05-=-=c.,,-1~-=o-=-o-N""'s.,..H""'o=e,,..,MAK...,..·
                                                                ""e=R=-.--+-____,.40.,...,·'""1..,...1_2,,...,5--',-.-450·..,.,,.+,.,.-    69               361.00 P            1014                       10122.ss
      9     09/05 VALDEMERE LERMA                                               3         20          60 i                                               --'i5:oo 15·- ---1075 --------&gt;---:i0047.98
   ,__!:!-+--'OW_._1?_-~J_FR_F_U~Y_R_IC_H_IF~·----+--?_?_s......
   f---,,-9+--_....,_F_,R~E=D~S=EE=-HA_·_U_SEN
    ,_~    --·····-· ~~&amp;~-~1-rccrn~c-.-·-·-- ·
                                                           · ___ 13 .2Q2 5;
                                            _ _-t---1-----· 1 -~=-~-·
                                                                                                ' .
                                                                                                                    . .·
                                                                                                                            _    38 .                       254, 50 P
                                                                                                                                 _l_·_·:~c----~-·~54.00 P . __!~,_ .._____
                                                                                                                                       1         1
                                                                                                                                                           ::~~ ~
                                                                                                                                                                                1078


                                                                                                                                                                                ~g;g
                                                                                                                                                                                                            Q71l3 48
                                                                                                                                                                                                            ·9539_·45-
                                                                                                                                                                                                  - -----~~~:~il
      f)               ;l\(J                                                                    I                                           ·00'             :'J0.00 p          1060                    -tioo.-23
      :     09/05i~~ci:~i~~~~MA       :                                                   ~~J ~~-                 S         _d ____    !   ---~-i--~-- 1~· &amp;--- -~~:}--!~ --- --~~J!
      9 09/05 :weLDEN:sf!OEMAKER- ·- 20                                                    14       280.                         16 .            l          2S4JJO , , - -:ros3"'-···· ----                  1326.23
   ,_! _Ul:llOO          ~·~·       .     . ·- Ltf{MA                         "IU          lt&gt; . Q'IV.. • . 04          i                                   ;;J;JO.IJIJ   t'                 ,jUU.UU         llJllJ. .!:;&gt;
      9     09/05 DON SHOEMAKER                                               32 11.25 36tf .. - .                                                          2sfOO:P --                      ---------779~23
      9     09!05 ·VVELDEN SHOEMAKER                                          20    14 280                                                                  264~00 p                                          515.23
      9     01/01- DON SHOEMAKER                                              40 11.25.. 450                                                                381.00 p            1087                          134.23
      9     09/23 FRED SEEHAUSEN                                              40            81 326              40                                          280.00 p            1089                            85.ZS
    io      09123.!AG                                                                                                                                        36.00 p            1088         200.00           249.23
    10      09/JO :DON SHOEMAKER                                               40 11.25        45():;                                                       381.00 p            1091         182.83            51.06
   ·;,-o--owao'!VVELDCM Sl40r;;,MAKGA                                         00           14; rul()'.                                                      28-1.00 p           1000         '100:00           187.06
     10 ~/~j.~~~Q§_~E~AUS~f~t_ __+-'-_40--+---~--~9. ___4Q+ _ _..____ 244.00 P                                                       1093            900.00           643.06
     10 10/07 1AG                                                           ,       i                                  36.00 P       1092            700.00         1507.06
   ~·· ._. "-·--7tlep---~---r----ir--~---r---rr;---__,...---;;;2;;;;;7.-;;;;7:;;;-'6t;:E::;-:N&lt;.:;-:;:;1--:1'-0~9471------t--1"4:::;:79=-.36=-i
     lti i0/0i-:-1.JO'Ns""·"""Ho=1::""M=AK==t..,.K~-+--~!llll=-1--1=1-=2t&gt;~.~4""w~1._,·-++-~~-_,__-~;;sts~,~.w.,,,,.·+"'~-+--.;,.1u·~~,-,...+1       1titfoffj" ____fltm.&amp;B:
     10"·10107 WELDEN $HOC.MAKER                                 20      14 2$&gt;1            1                        264.00 P       --1095.          186.10:· fl23:00
     10 10/07 FRED SEEHA(iSEN- -                                 40 " - 'lr·-320:·-40 :             : .. 36" - 244.ocf p--- -1698. 4000.00 --4879.oo
   .10 10/07 ·AG                                                                            ' ------y· ·:35_           36.00 P       1096         25000.00        29843.06
                      !TEXAS MUTUAL                                                                                   904.00 I       1100                         28939.06
     10 10/14 DON SHOEMAl4Ml=--~·I0 P         10s:ls:l ·---- •- - - c·~-1,.7700
     10· 10/14 AG_____                                                               '      I         ' . -36 -        36~0 p        1101                         28091.00
     10 10t21                                                  .-, ..- ·--- ----~----, · T                                    v                   - -- -- --·2aoero0

   J,g. Ci~~ "                                                                                                                             • • +--                        ~                ·------- - ~~g;~:;~
      10 UJ.'21 FRED SEEHAUSEN                    40          8 320 1 40                           38             244.00 P        1102 -- -- .. -· - - .. -27847:00
   i 1( 'f1/76 VALDEMj;;Rt;LERMA-----,---·5 --30 "-l5o .                                                                   V                10000.00        37841.0o
     ·1.t 1·112.1 :ooFf·sFioEMAKER            ;2S~e1 r142s, soo                               · .,, ___ . -·----           v 1           -~ro-:430s.oo -42.1s2.00I
    --~--. - -- BOBBY CHINESE                    -~ ---- - .·· .                                                 7808.00 BR                 20000.00        54344.00
   . 11 : 11127 VALO~Ml;RE LERMA                                                                   ·-·- -·--- -            V                   859.31      55003.31
    ~ 11/27 :SLVIA ROMOJLRIP                     ---- ----.....,, --,--+--+-+----+--- - -- 10000.00 JLR . 162                                               45003.31
    ~-119.l. ..f.$)St\PERMIT           .. -.. ~.                                __ . -.. . . ;·--··. ....          25.nn CF_v_ 1024                       . 44S7ttJ_1_
      1·1 ·11/27 IRS' .               ~~~~.                                                                      2043. .93 ·p , 1126                        42934.38
_, 'f'!T"'Fti27-i:z··-                                                                                             39.00 s         1127 -·- ·---- --42895.38
      11 11127 IMELDA-------+--------··-------+---o------+--+                                                      60.00 M . ;· - 1128                      42835.38~
      11 11127 NBP.           - - - - - + - - i---- .... - --+---....+----+--                                      66,~5 !:NC ··-1129         __ __ _ "1277013
      11 11127                                                   I                            ---+-----+\/                         1130:                    42770.13
      11 11127 ·                                          ---t-- .. " ' - - 1 - t - - - - t - - -                4000.00 IP      . ffa1-, -----+--~3877{&gt;-:-1_~
   -·                  ~---·· ..                    _,_ ---~----'--- -~~,i.·--~-~~·

                                                                                                                                                                                            ...                 .
                   HfZT IMELDA                                  ..                                                                                                                 :                                                    ..                            oo.oo      M             11·20                                                            4"SOS&amp;.:&gt;6
    11127 NBP                                                                                                                    !                                                                                                                                    f}S.25 ENC:             1129                                                              43034.13
'
    '

 \' 11127
                                                                                            -
                                                                                            -                                                                                                                                                          1                         v             1130                                                             43034.13
                                                                                                                                                                                                                                                                    An00.00      p             1131·                                           -                30034.13
-~ 11/27'
                                                                                                                                                                                                                                                       i
  ~127 VALDEMERE LERMA                                                                                                                                                                                                                                               150.00.P                  1132                                                             38884.13
.. 11'27 DON SHOEMAKER                                                                                                           ·- -·
                                                                                                                                                                                                                                                                     300.00      p     ..     1133                   i.--
                                                                                                                                                                                                                                                                                                                                                                38584.13
I• 11/27 VALOEMERE LERMA                                                                                                                                                                                                                                             300.0D p                 1134
                                                                                                                                                                                                                                                                                               --"·-
                                                                                                                                                                                                                                                                                                                                                                38284.13
I•                  f11Z7                                                                                                                                                                                                                                                        v                      1·5()()00.00      10029-4.13
                                                                                                                            ..                                                 ·--                        --                                               ...
                                                                                                                                                                                                                                                                    5468.00      BR          OW
                                                                                                                                                                                                                                                                                                 -- ·-·
                                                                                                                                                                                                                                                                                                         40000.00 222816:13
!•   11127                    WIRE TRACKS
                                                                                                                                                                                                                                                  -·· -nao.oo    eR
     11127                    RRIPLET CHINESE RETl RN                                                                            i                                                                                                                                                                   1                    230596.13 ;
'"
~1 t/27                       VALDEll!1Ef
                                                                                                                                                                                                                                                                       41.20.W
                                                                                                                                                                                                                                                                                                  -·· L _ - - · -
                                                                                                                                                                                                                                                                                                108.
                                                                                                                                                                                                                                                                                              1072'
                                                                                                                                                                                                                                                                                                                          230546.13
                                                                                                                                                                                                                                                                                                                          230504,93·
  "' 11127                        SAWS .                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                      110.54 ENC               1073                                                         230394.39
"I• 11127                         f\IBP
                                                                                                                                                                                                                                                                      175.0(l s                1074                                                         230219.39
     11127                        EZORIVE
                    11127         c·f&gt;s·                                                                                                                                            I                                                                            00403.~         c:LI::'.•     101"G                         _.,_                           183010;00
    11              11127 TEXAS LANDMARK SUR 'EV                                                                                                                                                                                                                    3000.00 s                  1103                                                         160816.09
                                                                                                                                                                   ~.   -·                                                                        --                 400.00 p                  fi3s.                               -·                       160416.09,
I',                 11/27 ,VAi.DEMERE LERMA                                                                                                                                        ....                                                                                                           ··-·-                                                                 ---·-
I•·                                                                                                                                                                                                                                                                  -723.00 'P..
h
                                                                                                                                                                                                                                              ..                                                  ..   -       ---·                                                            ·-

    '' ......                               .

                                           ..
                                                .                         -···
                                                                                                                                                                                    !                                             I
                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                     ·-
                                                                                                                                                                                                                                                                                                                                    -·
 !•                                                                                     .
·,.'----                                                                                                                                                                                     -···
                                                    ..                                  -                                                                                               -·                                   -
                                                                                                                                                                                                                                                               137,475.69     ****'***•" 298030.84 348Z884.97--
        '                         ..                                                                                                                                                                      '                                                        139.06 TYP CKNO DEPOSIT ~Al,ANCE
        '                                                                                               !                                                                                                                                                      137614.75
                                                                                                                                                                                                                                                                ..
    ~-                                                                                                                                                                   --                                        ·-·
                                                                                                                                                                                                                                                                      139.lJ6: BAN KCHAH ~t!:i
                                                                                                        '                                                                                                                                                                                                                                                 ··--
                                                                                                                                                                                                                                                                    25759.!,le PAY ROLL
    "
    H
                                                                                                -·-··
                                                                                                                                                     '                                                                                                               5416.49 SUR ~EV
                                                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                                                          -- ··--·---
    I•
                                                                                                                                                                                                                                                               ..    A1A300 DIF~ Fl
                1----&lt;""                                                                        ---·                                                                                                                                                                                                                                                                   -·····--
    I•
                                                                                                                                                                              .-
                                                                                                                                                                                    !
                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                    10824.02. EOl PMENi                                                                         ...
    I•
                                                                                                                                                                               ..                                                                                   66403.30 cPs:a~c                                                    ----
.I•
                                                         ...                                                                         .,                                                                                 .                                            16i:Kioo .DAYLABOR                            ..                                 SAV500
                                                                                                     --·                                                          ..         ...                               ..
                                                                                                                                                                                                                                                                      "IZ0.00 MAlllTAti'I
                                                                                        ...                                               ...                                                                                                -
        ;,                    I
                                                                                                                                                                                                                                                                     6296.00. _BOB RIPLE~
                                                                   ----
                                                                                                           :           --                                                                                                                                                              ·-·-,.-                                                                                       !
    I&lt;

    I•
                                                                                                                                                                                                                                                                     1101.20,WA ER
                                                                                                                                                                                                                                                                      904.00 INSI RA_~C"'.F
                                                                                                                                                                                                                                                                                                                                                           ..   -                    j

    I•
                                                                                                                                                         --                                                                 -··
                                                                                                                                                                                                                                                                    10000.00 JLR
                                                                                                                                                                                                                                                                                                                                   ,.                                        -----
    l•i------
                                                                                                                                                                                                                                                                                 cm A/FEES                                                                  -
                                                                                                                                                                                                                                      ...                             525.00
                                                                                                                                                                                                                                                                      342.82 ENC: NEER ii m
                                                                                                                                                                                                                                                                                                                                                      "'

    "r.                                                                          -.   - --                                                -··                                                                                                                                                                                                      ....
                                                                                                                                                                                                                                                              2000.00 KEY .LARGO
    111
    ~---                                                                                        ..                                                                                                                 ....                                    .137,61~.75                                                                                    ..
                                                                                                                                                             -·
                                                                                                           'i
                                                                                                                                                   --·   .,.._
                                                                                                                                                                                                                                                               MOFIED FOR lJ TALS ·
                                                                                                                                                                                                                                                                                                                                                          --
                                                                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                   139.06 BANI&lt; CHAf;GES
                                                                                                                                                                       ·-·-··
                                                                                                                                                                                                    ...                                                        120,311.87 COii STRUV ~TION
                                                                                                                               --                                                                                                                                                                                                                                       ~   ·«-·-
                                       ...                                                                                   ...                                                                                                                                 16,296.00 JR                  ....                           ..
                                                                            -
                                                                                                                                                                                                                    _ ...                                             342.92 ENO                                                                                       ·--
                                                                                                                                                                                                                                                                      525.00 TAX                                                                     i
                +------ ...                                    .. ..                                            --··                                     '                                                         ..                                                                                                                                            -
                ;...-..,.                                                             -·
                                                                                                                                                                                                                                                           '
                                                    -.                                                                                          ·-·-··                                                        ..                                               137,614.75        TOT N-                                                                                 ....._.._-..J




                                                                                                                                                                                                                                                                                             ~-
                                                                                 -·--                                                                                                                                                                                                                                                                                 - -.. '
        I•
        I•
                                  ORIGINAL                                                                      .............                     .t                                    QRI•
                                                                                                                                                                                        ·rot ~-OEP1 )Sff...
                                                                                                                                                                                                              NAI._-
                                                                                                                                                                                                                                                               298030.84
                                                                                                                                                                                                                                                                                                                                                                -
            •                     Ol;;POSffS                                                                       G~R                                                                  i;)t.P 0:MSi;;s                                                        137614.75                                                                 .                                   --··:.
            •                     ,SPENT                                                                           ERR                                                                  SAlJ ~~CE                                                                1§0416.09
            '                     BALANCE
                                                                     ..

                                                                                   ----                           ERR                                                                   BAN !STAT MEN 160416;09                                                                      . ...                 !   .        -1077.00                                _____,
        1i'
                                                                                                                  2000                                                                  qo" moN           -O;OOj
                                                                                                                                                                                                                                                                                      -~~-
                                  MANK t-tt:
                                       -
                                                               .·-----··
                                                                                                                  l:::RK
                                                                                                                                                                                                      ...
                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                        ·-
                                                                                                                                                                                                                                                                                                                         .   ..                                                      I
                                                                                                                                                                                                   ..                                                                                                ...
                                                                                                                                                                                                                                                                                                                              !
                                                                 RANr lfltPW                       1:i~Ml(~·r.ONT(.\UR
                                                                                                                                                                                                                                                                                                                                                             ··--
                                                                                                                                                                                                                                                                                                                              !
    '                                            ..                                         ·.
                                                                                                                                   --                                                                                                            --·            -·-                                                                                        ·----·-
       : 2013
    MON DATE NAME                                                HRS                  RATE TOTAL SS ..                                                                       WH                    OTH1:1- AMOl.INT                             lYP CKNO                                DEPOSIT ;SAL.AtlCE
                                             .   ·-                                                                                                                                                OTHE~ AMQUNT                                 TVP Cf5.NO                              oFPOf;IT                                  RAIANr.F
    MON.DATE NAME                                                FfRS RATE TO{AL SS                                                                                          WH
               i                                                                                                            ...         .,   ...                                                                                                                                                                                            ..       160416]9
           1 J 01£14 HOLTCAT7                                                                                                                                                                                                  972-40 E                                        1-077                                                                 159443.69
           1i {11107 ALLSTATE;                                                                          -        ...
                                                                                                                                                                                                                               730.00 INS                                      1-078                                                                 1511713.69
                                                            -                                               _,
                                                                                                                                                                                                                           ....831.00                                          1{179                                                                 157882.69
                                                                                                                                                                                                                               250:00 g~
           1 01/01 COSAPLAT
           1       Ul/Ul    ~U:iAPLAf
                                                                                                                                                                                                                                                                               1()80                                                                 157632.69
                                             -··                                                                                  --
I
           1 01/01,DYE ENT                                                                                                                                                                                                     2500.00          sui:                           ERR                                                                   155132.SQ
I

           1 01/01 TExAs LAND"!~KSUR\'EY
                                                                                                   •
                                                                                                                                                                                                                   !
                                                                                                                                                                                                                           -· 1.150.00 SUR                                     ERR                                                                   153982.69
           1 01/01 IRS                                                                                                                                                       ..                                                1744.12 IRS                                     1136                         6.69                                     152245.26
                                                                       ···-
~-i
                   01/Uf    ,f(~                                                                                                                                                                                                t ROSIE JIMENEZ
                                                      --                                                                        ---·                                    -·           1!)2.00 p      ·2151                                                                   1015~1.03
        4     04/01•ACT                                                                                                                                                            3479.54 PLB       2152                                 ..                                 98071.49
                                                                                                                                                                       '             134.30 ENG      2153.                                                                   97937.19
        4     04101 LONE STARREPROGRAi ICS                                                                                     ...                                                                                                       -
              CM/01 VALOEMERE LERMA EXf 5.00 20.00 100.00                                                                                                                            100.00 p        2154                                                                    97837.19·
        4     0410.1 OOOEOJL                                                                                                                                                         375.54 ti       :n55                                                                    97461.65
        4     0410l VAlDCMt:Kt: LI:t1 VALDEMERE LERMA                  32.00 1·1,00 544.00 --· 55                                                                                                        489,QQ,P        2157                                                                    96892.65
                                                                           50.
                                                                                                                                    -                                       ·~~.   -
                                                                                                                                                                                     466:00:P        2158                                                                    96426:65
          4 -04A&gt;1 ARMONOD LERMA                   32:0Q 15.00 516.0Q:                                                                                                                                                                                       ..
        ·4·, 04/01 ARMONOOLERMA exp                  -4.0() il4.00 56,(p                                                                                                              56.00 p                        2159                                                    96370,65
        ..     O1 FRED SEEHAUSEN
        4                             40.00 14.00' ;560.00                          ao                                                             ,· 36J)ff                        434.oo P                 -·
                                                                                                                                                                                                                     2171'
                                                                                                                                                                                                                                 -                                     --- &amp;3624.41'
                                                                                                                                                                                    433.00 p                         2172                                                    93191.41:
     4 04/01 ARMONOQ LEA.MA
                                   -- ~.00 15.00 486.00        53
                                                                                                                           --                          ~-

                                                                                                                                                                                    221.00 p                         .2'173               -                                  92970.41
     4 04/01 SCCllV LODez             16.oo 15.00 240.00       19                                       ..
r----4 04/61 MICHAEL SISK             32.00 1:too 41fU'IO 4200.                                                                                                                     374M P                           ?17A                                                        A?~i:IR41
                                                                                                                                                                                                                                                                                    ·-~

     4 CM/01 VL                       40.00 11;0Q 680.-00.1105:00                                                                                                                   575.00 p                         2175                                                    92021.41
                                                                                                                  ....                                            -                                                             - - - --gf's65:4f
'----4 ~64/o1 A,RMONDO LERM,6; ~xo 4.00 14.00 56.00                                                                                                                                  5S:Oo'EXP                       2176
     4: 04/01 Josuha Shoeve m-6       16.00 :15:00 240.00      18                                                                                                                   222,00 p                         2177                                                    91743.41
     4' 04A&gt;1 CORTEZ LIQUID                                                                                                                                                          95.00 FM                        2179            - ..      _ _ _Jl1648:41
     4 04/01 lnaram                  135])0 71.00                                                                                                                                  2485.00 COl'I                     2180                                                   . 89163.41



                                                           --·
     4 04/01 A!3                                                                                                                                           ~36.00'                   36.00 p                         2181•                        89127.41
     4 04/01 gnrtire                   1.00                                                                                                                                         150~00 E                         2182
                                                                                                                                                                                                                                          --- -·88977.41;
                                       1,00                                                                           '                                                             550.00 E i
                                                                                                                                                                                                 '                   2183
                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                       118427.4.1
     4 04/01 ~ dehrntt!!!.
         1.1411.11 l;;t':S I t:MI'                                                                                                                                                  15~);{)()      EL         LlB4
                                                                                                                                                                                                                               ~----


                                                                                                                                                                                                                                                                  - --88277.41
                                                      -·                                              ·-                                               ...                                                   -·
                                                                                                                                                                                                                                                                            . 88220.41'
         04/01 .IRS                                                                                                                                                                  57.00.IRS                       2185
     4 04A&gt;1 DOOEOtL
                                              ...                      -                                                            -
                                                                                                                                      -                                            1230.89 b                         2186                                                        86989.52

        ..4
  . 4 .04/01 VALDEMERE LERMA EX! 4.00'26.00                       oo.oo
                                                   ,02.00. 10.oa :nz.oQ.
                                                                                                             ..                         -                                            80.00 EXP ..                    2187 -
                                                                                                                                                                                                                                 -~--
                                                                                                                                                                                                                                                               86909.52
                                                                                                                                                                                                                                                             ----   ..-
               O'-llQ'I MMONDO LERIW\
               04/01 'ARMONDO LERMA exp             4.00 14.00 ! 56,QO
                                                                                     :&gt;!'
                                                                                                                                      -                                             ..~.00 I"
                                                                                                                                                                                      56.00 EXP
                                                                                                                                                                                                                     ZIM ...
                                                                                                                                                                                                                    .2189i
                                                                                                                                                                                                                                                                                 C04::i.l.::tZ
                                                                                                                                                                                                                                                                             86395.52
                                                                                                ·····
        4 3S0,52
        4      04/01 MICHAEL SISKm1                16.00 14.00 224.00                18               .....                                                                         206.00_P                         2193                 ···-
                                                                                                                                                                                                                                                                 85144.52
        4      04/01 Scottvlopez                   24.00 15.00 360,00               .33                                                                      -.                     327.00°.P                        2°1'94                                  - · 84817.52
        4 04/01         Josul:la ShOeve m-6        32.00 15.1)() 480.00              18                 ...                                                                         462.00 p                         2195                                        84372.32
        4·6'J01         m&amp;MeouiD                                                                                                                                                    Rtn fVl I=          --·!&gt;~1 AG.
                                                                                                                                        ..
                                                                                                                                                           ·36.()()                   36.oo·P                        2143.   ---·                                                80356.46
                                     ...                                                                                                                                                                      ..
                                                                                                                                                                                      .J0.00 p -                     2162 ~-
                                                                                                                                                                                                        ~


        ·:&gt; UOIU1 AG                                                                             --                                           ..           -36.uu                                                                ·-                                              80320.46
        5 05/01 TX LANDMARK SU~
                                                                                            .
                                                                                                                                                                                   4750.00 SUR                    ·-2196             -                       r--·                755-70:46
                                         i                                                                                              ...                                                                                                                         ..           75334:'46
        5 05/01 ARMON'oo LERMA     16.00 16:00 256.00                                20                                                                                             236.00 p                        .2198
        5 05J0f:ARMONOO LERMA exp i .2.00 14.00 28.00                                                                                                                                28:00 p                         21.99                                   -                   75306.46
        s      ()O/Q1 V"LOl::MCRC .LERMI"&gt;         -10.c&gt;o 17'.'00 ;ooo:oo          .•.Q;J                                                                                          ::iro.oa       F'                ~~00                                              .         'f4T.3·i:40:
        5 05101 FREO SEEHAUSEN m2                  40.00 14.00 '560.00               90                      .. ..                                          36.oo                   434.00 p -                       2201                                                        74297.46
    "---5 -05/01 AG                                                                                                                                    ;.-36.00                      36.00 p ;                       2202·                                                       74261.45
         5 0511)1 ~Lopez                           24.00. 15.00 .360.00        ..    33                                                                                              32-7.00 p                       2203                                                        73934.46
               ll&amp;IO~   f;AIC~L !:H~I£     .., 1   '1.oi.00 " ..-00 -4.74U&gt;O                                                                                                         ..t2i .. OO                      220-t                                                      '7361.3-~
                                                                                                                                                                                      eo.oo p"'
         ~                                                                           !iii
                                                                                      ··y
    5     05101 VAl.OEMEfU; Ll;RMA EXI 3;00 20.0Q §itoo.                                                                                                                                                              2206                                                   ·73453;46
      5 05A)1 Scoflv Looei .      . ... 1$.00 .15.00 24.o.001     16:                                                                                                               222.00 p                         2207                                                        73231.46
                                                                                                             --                ..                                                                                                                                 ..   -

                        ~~t-
      5 05/01                                                                                                                       ,,...     ..                                      1S3.0P    E       2208                                                                     73078'46
                                                             -'--'20
    J~O!\A&gt;1
                        ~ . LER~.ce.;
                                                                                                                                                   ~




                                                                                                                                                                                                                                                        _ _]:1113041'1
      5, 05Al1
      5 0511)1 AUSTl.N DIST
                                        1A.75 :f6.00
                                         2.QO 14.00                9  -                                                   -·--                               .-
                                                                                                                                                                                      24R.00
                                                                                                                                                                                       28.00
                                                                                                                                                                                       62.17
                                                                                                                                                                                                P·
                                                                                                                                                                                                p
                                                                                                                                                                                                E
                                                                                                                                                                                                        2209
                                                                                                                                                                                                        2210
                                                                                                                                                                                                        2213
                                                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                                                                                 72802.46
                                                                                                                                                                                                                                                                                 72740.29
      5: 05/01 FRED SEEHAUSEN m2 40.00 14.fM! 560,00
                                   --
                                                                  go
                                                                                                                               -- -··                       36.oo                  .. 434:00    p       2215                                                                     72308.29
    5     05l01 otXIEOiC.      ..           ..                        ..                                                                                                              784.01    0       2216                                                                     71522.28
    : ::J IJt&gt;IUT t=zC11-ttVt                                                                                                                                                         424.00    tNG -   2218                                                                     fhnto,;!6
                                                                                                                                                                                                      -                                                                      -
    Li! _QS/Ol Josuha Sh~ m..a          16.00  15:00 .240DO        f8                                                                                                                222._I&gt;_!) p       2219                                                                     70876.28
...
'-5
                    0../01 VALOl;.Ul;IU:;   Ll;PUA&amp;;.V:I&lt; .A,00      ~0;()0    ao.oo                      '··
                                                                                                                                                                                   80.QO p
                                                                                                                                                                                             car
                                                                                                                                                                                                                       ·----.--.---- . -
                                                                                                                                                                                                                     ::1%22                                               '70'106.!UI
                                                                                                                                                                                                                                                                          70086.28
                    05/01 ilnaram ReariYMiX'                                                                                                                                      110:00                             2224



                                                                                                                                                                            . -=
                                                                                                                                                                               3782.58 JLR                           2225                                                 663o3.70
              5 05/01 CHASE CARD SEVICt:.5
              5 0~01' VALDEM_ERE LERMA.    43"]0 &gt;--·- &gt;-----·
                                                        731.00       mo                       121.                    --                           -·                           610.00 p                             2232.                                                65693:70
                                                            ,~-
&gt;-      '5                                                                                                                                         _SI01 TXPMRFENGE
                                                  ----                                                                                                      '
                                                                                                                                                                               2857.8&lt;&gt; FE                           2240                       -
                                                                                                                                                                                                                                                  5ss1s.11
              5     05113    V,,,_, GmJNOY                           I                                                                                                          273;96 ~                             2241                         55344.81
                                                                                                                       -·                                                      1814.00 E                             22"4:                        53530.81
              5     05tl3 DISEL PUMP SREVICE                                 ...                                                                                                                                                                  5307tf.81'
                    U;» 1:i IAKl\"IONUU Lt:KJlllA      ;;s~;oo \llU~ ;ou:.uu                      l)U                                                                             -.::iz,\1\1 f'                     .zottl
    -5        b
                     05/13 VALDEMERE LERMA             40:00 17.00 680.00                        105                                                .                              575.00 p                          2246                                                 52503.81
              5     05/13 FR,EO SEEHAUSEN m2 ~.00 14:00 56().00                                   90                                                    36.00                     43tttl!&gt;4.!&gt;1
              5 05113 IlSWltY. lOlleZ
                                            .
                                               3.DO 15.00 12().00                                 18 ...                                                                   ·- .
                                                                                                                                                                                  102.00 p                           2250                                                 50752:51
              5 05113 MICHAEL SISK m1         32.DD 14.00 448.DO                                  "8                                                                              400.00 p' -                        2251                                                 50352.51
              5 ll5/13 :.VAl.[)tMERE LERMA EXf 4.00 :zo.oc. 60.00                                                                                                                  80.00 p                           2252                                                 50272.51
                                                                                                                                                                                  ~71).00     ,,                                                                          ~7G$.G1
              Ii    'Ollli3 .IC&gt;Ouho Shl'&lt;&gt;Ve&gt; m 6         32.00 &gt;JS.OO £1?-00                    30
                                                                                                                                                                 -                                             ... 22&amp;3.
              5 05/1.3 CORTEZ   ..
                                                                                                                                                                                 95.00 p                             2254                                                 49704.51
                                       ·--·                                                                                                                                     480.00 p                             2255                                                 4922-4.51:
              5 05/13 M&amp;M                   ~.-- &lt;---
              5 05/13 GUARDIAN INSFORFRE l   ..
                                                                                                                            !                                                  7586 27 JLR .                         2256                                                 41638.24'
                    llSfi') Al.I i:lTATI=                                                                                                                                         !i10.'-o ~§-~P5..!'                                                                     ~1118.7.ol
5             "     051.13 ARMONDO LERMA exp      4.00               14:00      oo;oo;·                   '                              •·
                                                                                                                                                                                   56.00 ~             2258
                                                                                                                                                                                                                                 L _ _ _ _ . _ _::_                   .

                                                                                                                                                                                                                                                                          41002.74
                    05/13 DIXIEOIL                                                                        :·                                                                     700]10" p      --     2259                                                               40362.74
     .. 5                                                                                                                                                                                                   '---·                                          '
                                                                                                                                                                                'l!66.67 P_:_~- -2260
        .:.

              5·    05/13 FRED SEEHAUSEN m2 24.00                    14,00 336;()1)               32                                                    36.00                                                                                                             40094.07
              5     o5i13 1VAlO.EMERE LERMA EXI 5.00                 20.00 100;0'()                                                                                              10Q.OO p           '-
                                                                                                                                                                                                       2261                                                               -.-.01
              5     05113. CHASE CARD SERVICEs;                           -.
                                                                                                                                                                               3782;58 JlR         ... 2262 ..      ~
                                                                                                                                                                                                                                                                      36211.49
              5.    05113 CHASE CARO SERVICES                                                                                                                                  3598.64 E               2262                                                           32612.85
              5     05/13 ARMOt.iDO LERMA       :4().00              16,00 640.00                 ·l13'                           -.
                                                                                                                                                                                 567.00 p              2263                                                           32055.85
                                                                                                                                                                                                                                                                     -----
              5     05/13 ,ARMONDO lERMAe&gt;q&gt;      5.Q()              14.00 70.00                                                                                                   70:00 p -·~                                                                        31985.85
              ::J   U!&gt;ll.) VALUt:MtKt: L.~l'UlllA         1'W.U\I   111.uu ll&gt;tl\l.W            100                                                                              n1;.i.ou IP                  ~         .. ·50000:00 .-------i!'f4l00 TAX                       "1oo?
                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                          7RAA1 A'.'!
     6 06/01 AijMONOOLERMA           ' llLOO 16.()()i 128.00                                      2(l                                                                              108.00 p                          2274'                  26n3.63
     6 06/()f ARMONDOLERMA             2.00 1:4.00
                                                                                                                -·
                                                                                                                                                                                   28.00 EXP.                        2275                   26725.03
     6 06/()1 VL                      43:00 19.00 !16.00                                    .. 130                          '                                                     6fl6.00 p '                        2276      . - - ,____ -26039.63
     6 llRlmt WI• I IAM i_l:\11111:1 IHtOO t•.l'li1 .224.llll                                   .,.,.                                                                             HIS!" p                            2277 - - - - · ~~
                                                                                                                                                                                             --
     6 Q6103 DIXIE..OIL                                                                                                                                                           652.52:0                           2279                   25199.11
     6 06!03 AG
                                        - ' - - · - 1-------:                                                                   ·-36.'oo                                           36.00 p                           2280
                                                                                                                      ..                                                                                                                    25163.11
     6'. 06103 .EZORIVE                                                                                                                                                           276.46 EN(                         2281                   24886.65

,
1--·                                                                                                           "
     6 06/03 /.C.T
     6 UIJ/03 .KUUY U:RMA .. - - - !li.IJO 113.••
                                                                                                                    --- ,____
                                                                                                                                                                   .   g7_ ~LB
                                                                                                                                                                . -r---{~:~                                          2282
                                                                                                                                                                                                                     '2283
                                                                                                                                                                                                                                            24640.55
                                                                                                                                                                                                                                                                          24443.55
       ~06/03 VL--- .
                                                                                                                                                                                                              ...                ~-


                                                    '                                              -
                                                                                                                                                                                   100.00 EXP                        2284
                                                                                                                                                                                                                                               · - .__ .. _
                                                                                                                                                                                                                                                                          24343.55
     6 06/03 DIXIEOfl                                                                                                                                                              $67.00 0                          2285                                                 23756.55\
     6 06/03 INGAAM READY lilX                                                                                                                                                    1511.05 JLR                       .. 2286:                        ----~245:!0

              0     00/00 .GRCG RCVE.IM                     o.oo 13.00          TO.QO               0
                                                                                                                                ..                                                -·T.Z.OQ    ,..                    uoit                                                 ~~11~.~u
   6 06/03 CHARLOT CONC                                                                                                                                                           433.84 PLB                                                                              21739..86
   6 00/03 VL.                                             14JlO 19.00 272.00 21.
                                                                                                                                                                                                                    ..2288
                                                                                                                                                                                                                     2289                                                 21488.66
&gt;-·5 06/03 FRED SEEHAU$EN m2                               40.00 14.00         sso.oo             ~~:                                36.00                                        434.00 p                           2290                                                 21054.66
&gt;--s,-.06~                  NAPA
                                                                                            ·--             !.---··                     ...                       ..               676.0? E               ·-          2.201             -··. -                            20-4'70:so
          6; 06/03 AG                                                                                                                                                               72,00' p                         2292                                                 20407.59
          6 06/03 VL
                                - ··-             2.00 20-l?O                                                                                                                       40.00 EXP                        2294                                                 20367.59
    '.""" 6 OEV03 Ingram Ready-MIX         .. _                                                                                                                                    071i.05 JLR                        2295                                                19388.64
          6 OBm~ I VAN GRUNDY
                                                                                                                                       -
                                                                                                                                                                 ..                 65.Mlt=                           7".HJR
                                                                                                                                                                                                                                      -- ..    --          I--            19323.64
                                                              ·!
          6 06/03'DYE                                                                                                                                                             1550.00 SUR                        2298                                                 1ffl3.64
          6 06/03 lrniram ReadY Mii
                                                 --            '      ·----                                                                                                       2403.15 cor.                       2299 ..                                              1537'0.49
          6 06103 FRED SEEHAUSEN rn2 .. 40.00 14.00 soo:oo                                        !!9.:                                36.00                                       434.00 p                          2300                     ..                          14936.49
     6 ~oi;/()3 ALAN HYDJWJJJCS                                                              ..                                                                                    211.11 E                          2301                                                 14725.32
          0  UON.:1 texas rnmual insurance cri noany                                                                                                                   ;          3110.00 INS                        l30Z                                                  l16l::J,3io!
          G 00A)3 WILLIAM LEWIS                 16.00 1-4.00 224.00                               36                                                                   I           188.00 p                          2~02                          __ ,.                   11427,~
                                                                                                                                                                                                                          ··ss7.7-+                                                                                                     10009~.001
                                                                                                                                                                                                                                        -~~~
                                                                                                                                                                                                                                                                   2300. 1
        6     Q61.E&gt;3 !'CT                                                                                                                                                           I                                      221.50                                 2305•                                                                10648.08'
        6 D6I03- ALPHA TESTING                                                                                                                 -
        ti 06/03 FRED SEEHAUSE~. rn2                       40;00 14.00 000.00'                                                          00                     i 36,00                                                     434.00 p                                2306                                                                 10214.08
        6 06/!)3 DIXIEQIL      __
                                                                                                                                                                                                 -                         276.62 D                              -2307                                -
                                                                                                                                                                                                                                                                                                                                          0037:46
        R     llMl3      A~
                                             ,.
                                                                                                                         -                                         -~nn
                                                                                                                                                                                                 -···                       !VI 00 p
                                                                                                                                                                                                                                                        --         ?'los.:                                                    --          0001.49
        6, 06..V3 ASSOCIATEOESuPPLY               .                                                                                                     -
                                                                                                                                                                                                                       1039.95           E                         2311                             ..                                    8861.51
        6, 06/03 CERTAPRO                                                                                                                                                                                              5786.42          BK                         2312                                         ;
                                                                                                                                                                                                                                                                                                                                          3075.09

        6
        6
              .....
              ,.,,. CONENTAL
              06/03 HYORAULIC S.
                                   BaES
        6 00/03 FREOSEEHAUSEN m2 40.00 14.00 560:00
                                             --
                                                  M        ~RVIC~
                                                                                                     --
                                                                                                                                        90

                                                                                                                                        '"••
                                                                                                                                                                        36:00

                                                                                                                                                                                ·- ..
                                                                                                                                                                                                                        545.79
                                                                                                                                                                                                                     .. 647.87
                                                                                                                                                                                                                         48.73
                                                                                                                                                                                                                                        p
                                                                                                                                                                                                                                        E.
                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                 -·
                                                                                                                                                                                                                                                                   2313 .•
                                                                                                                                                                                                                                                                   2314
                                                                                                                                                                                                                                                                   2315
                                                                                                                                                                                                                                                                                                         ...
                                                                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                                    -                     2528.30
                                                                                                                                                                                                                                                                                                                                           1RR0.4.1
                                                                                                                                                                                                                                                                                                                                          1831.71&gt;
                                                                                                                                                                                                                                                                                                                                           1831.70
~                                                                                                                                                                                                                                                                                                                    -        .
I       ]    . "i]TJ03 'CHASE                                                                                                                                                                                             1039.51 E                                1078                                                                     792.19
                                                           '      ,--..                                    -··-
        7      07/03 US AJWAYSBOB                                         i
                                                                                                                                               _.,,
                                                                                                                                                                                                     "'-+                 1143,52
                                                                                                                                                                                                                           440,00 p
                                                                                                                                                                                                                                         JLR                       1079                                                                    ~56.33
                                                                                                                                                                                                                                                                                                                                          -796.33
        7      07/03 Josuha.Sht&amp;ve. m;.ij              -
                                                               30.00 16:00 480:00                                                       40                                                                                                                         1080
        7      07/03 Vl                                                                                                                                                                                                     60.00 EXP                              1081                                                                    ·856.33
                                ··--
        7      07/03 \It.                                      ~:'?'Q HU&gt;Q 57(1,00                                                                             :                                                           464.00 p                                1082'                        -
                                                                                                                                                                                                                                                                                                                                         -1320.33
                                                                                                                                           -
        7      07/08    GBMBINSURANCE             -.                                                                                                                                 '                                    6879.W         INS'                      1084                                                                  -8200.32·
----,        . Utiuts    ,JQsuna.srneve ~                                                                                                                                                                                   ,£lll.U\J   It'-~.:                    lUISO
                                                                                                                                                                                                                                                                                                                     -··
                                                                                                                                                                                                                                                                                                                                         •o",e;";::l2j
        7 07/11 vt                                         36;00              19.00 684.00 95.00                                                                                                                            585.00 p                               1086                                        -·.                        -8814.32
        7 .07/11 Vl                                                                                                                                                                                                       -
                                                                                                                                                                                                                            111.00 ExP                             1087                                                                  -8925.32
        7
        T,
              emu   Josuha Shte.ve m-6
              07111 o1:.u11y Ln"""
                                                               32JJO          16.00 512.00.
                                                               o&gt;o.oo ·'t.o.oo .ioo.oo ao.01&gt;"
                                                                                                                                        66'        -     -.·-.                                       ·-
                                                                                                                                                                                                                           452.00'P
                                                                                                                                                                                                                           "i:l0.00      ,..                       1089
                                                                                                                                                                                                                                                                   10$0                                         :
                                                                                                                                                                                                                                                                                                                                        .'9377.:32
                                                                                                                                                                                                                                                                                                                                          ·S®T.::ll
                                                                                                                                                                   ..
        7 07F11 RUDYLEHMA                                      32.DO · 13.00 416.00        11                                                                                                                              405.00 p                                1092                             --- .       :                       -10212.32
        7 07/1 t ,FRED SEEHAUSEN m_2                           40.00 14.00 56Q;OO          90                                                                           36:00                                              434;0() p                               1093                                                                 ·10046-32
                                                                                                                                                                                                                                                                                                              -- ·-·
1---,   7 07/11 DfXIEOIL
              ()7/H R.!W.L COMl&lt;.Z                                   -        .   ..
                                                                                                                ..
                                                                                                                                                        -.
                                                                                                                                                                                         -··
                                                                                                                                                                                                            i
                                                                                                                                                                                                                          2000.00 b
                                                                                                                                                                                                                           '160.. 00 p
                                                                                                                                                                                                                                                                   1095
                                                                                                                                                                                                                                                                 .. 1006                    -·
                                                                                                                                                                                                                                                                                                                                        -12646,32
                                                                                                                                                                                                                                                                                                                                         13006.3!!
        1 D.7111 FLOOR DIRECT                                                                                  ..                                                                                           '          1000.00 BK•..                               1104                                                                 ·14096.32
                                         -
        7 07/13 ASCO                                                                                                                                                                                                    839.39 E                                   2238                                                                 -14935.71,
        7 07113 ADEL.ANTE CONTRACTC RS
                                                                                                                -                                              :                     '                                10596.00 PLB1                                2301 !                                                               -25831.71 l
        7 07/13 Vl                                                                                                                                                                                                       6:rno FXP:                                ?316                                                                 -7!'i.lll'l4 71
        7 07113 WILLIAM LEWIS ..     16.00 'ifoo                                                     224,00                             ~
                                                                                                                                                        .,,.
                                                                                                                                                                                                 -                         100:00 p                                231.7
                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                        -26082;71
                                                                                                                                                                                                                                                             ··-                                                                  -
        7 07/13 HPLTCAT                                                                                                                                                                                                    657.69 p                                2318                                                                 -26740.40
        7 07113 AG                                                                                                       i                                                                                                  36.00 p                         -      2319                                                                 -26776-40
        7; 07/13 Vl                 -
                                    - -                                                                                                                                         --                                        -··20.00
                                                                                                                                                                                                                                  ~-                               2320                                                                 ·Zb796.40
        7 07/13 GREG REVEIRA         35.00 ! 13.:()0                                                 4?5.0Q 76:()0                                                                                                         379.QO p                                2321                                                  ·27175.40
        7 07/13 .FRED SEEHAUSEN m2· .40.00 14.00                                                     550,00    90                                                       36.oo                                            434.00 p                                  23'12      --- .                                 ---=2f6o9.40
        7 07113 t=.MELDA CARRILLq_.                                                                                                                                                                                   -·. 00.00 p                                  2323
                                                                                                                                                                                                                                                                                                 --~
                                                                                                                                                                                                                                                                                                                    f----27669.40
     -··; ""\hn..&gt;
          . 07113 ARMONOOLl!RMA
                         l.t'~
                                     32,00 15.00                                                     480-~                               74                                                                                -406.00 p
                                                                                                                                                                                                                              !:1,;;s!&gt; t'
                                                                                                                                                                                                                                                   .. -
                                                                                                                                                                                                                                                            ..     2323
                                                                                                                                                                                                                                                                   ;.!;jl!4           ·-
                                                                                                                                                                                                                                                                                                                         ·28075.40
                                                                                                                                                                                                                                                                                                                                        ·.t:OUO'f.J:l
                                                                                                                                                                                                                                                                                                      ·-
~ 07113 GREG REVEIRA
                                                                                                                                                                           ·-                                        ·•

,___.,                                             ..                         18.l)O
                                                                                  ..                                                               20·                                               -·.·
                                                                                                                                                                                                                           214.00 p                                2325                                                                 -28298.75•
       -·@13 ACT PIPE                                                                                                                                                                                           '"
                                                                                                                                                                                                                           137.29 PLB
                                                                                             .                                     ·-                                                                                                                              2338                                                                 -28436.04
        7     07113 GENUINE PART$
                                                                                                                                                                   --·-                                                       s.38,P                               2339                                                                 -28444.42
        7     07/13 HOL.TOAT                                                                                                                                                                                               o~.C):i·p                               2340                                                                 -2,91.:)().47
                                                                                                                                                                                                                                                                                                                          -·
        7, 07'13 CONTINENTALBATTERI S                                                                                                                                                                                      134.4() p                               2341                                         '                       -29270.87
        7 07113 SAWS                                                      ;
                                                                                       ...                                    -                                                                                            880.50 w ..                             2342                                                                 -ao1sf31
                                      --                                                                                                                                                                                                                                ---
;       7 07113 iAi:il&gt;O
        ?     0711, Vi!INCRUNOY              ------
                                            ..
                                                                                                                                                                                                                           1()8,25 E
                                                                                                                                                                                                                           1G3.00 i:
                                                                                                                                                                                                                                     ..                            2343 ..                                                              -30259.62
                                                                                                                     .                                                                                      I                                                      t!3+t
                                                                                                                                                                                                                                                                                                          -                              Q0;422JS2
        7 {)7/l3 AUSTIN DIST                                                                                                                       ..                                                                      144.55 p                                2345                                                                 ·30567.17
    -   7 07116 JESUS DE!:fOYOS
                                                                                                 !
                                                                                                                                                                                                                          1395.00 E                                2346,                                                                -31'962.ff
                                                                                    ..
    ... 7 07116 AG                                                                                                                                                                                                          36:00 p                                234yr--···                                                           ·31998.17 •
        7 07116 RUDYL.ERMA
                                                                                                          ..
                                                                                                                                                       11 '
                                                                                                                                                                          ...        '                          -                                 '                                              --
        7 07/:16 FRED sEEHAUSJ;:N ~2
                                                   8.00           194-90                                                                                                             t                                      93.00 p
                                                                                                                                                                                                                          -·~.OOP
                                                                                                                                                                                                                                                   -·              ?~A
                                                                                                                                                                                                                                                                              ·-                                                               1?.
                                                                                                                                                                                                                                                                                                                                        ::.l?ll&lt;11
                                            40.00 14,00 560.00        ~                                                                                                 36._o()                                                                                    2349                     '
                                                                                                                                                                                                                                                                                                                                        '32525.17
    --r ~07116           VALDEMAR LERMA EXP        5:00           10Q:OO                                                                                                                                                   100.00 •p                               2350                                                                 -32625:-ff
        1   07116        WILLIAM LEWIS      16.00 14.()0 !ll4,00-     36,                                                                                                                                                  188.00 p                                2351                                                                 -32813.17
                                                                                                                                                                                                                                                                               ...                                                            ·-·-
        7 07/16          $cotly Lopez             11&gt;.oo          240.00'                                                                           32                                                                     208.00 p                                2352               .-                                  .             -3302lJI.
        7 07/16          Vl                                                                                                                                                                                                646.00 p ...                            2353                                                                 -33667.17
                                                                                                                                                                         ·-·                                                                                                       -·
        7' 07116         Josuna srueve m-6  ~-00'16.00 ~,00           50
                                                                                                                                                                                         -                                 510,00 p
                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                   2354                                                                 -34177.17
        7'. 07/16 AG                                                                                                                                               ..                                                       72.00 p                                2356                                                                 -34249.17
        1 07116 TEXAS PMR SKID STEE                                                                                                                                       -·                                              3200.00 E                                2357
                                                                                                                              ..                                                                                                                                                                                                        -37449.17
,       I     U/110 trulJUl::I I t:~1iA!JSENin2                                    8.00                                       180.00                    15                                                                                                          2381                                                                  13868.17
        7     011~....                                     [40.W 114.w                               tllHJ;Ull                           00                             36;UU                                              ...,...uu,P                           23221                                                            --U43W
        7     07123 WIRE FOR COM TO RICt IE                                                                                                                                                                               4526.25'E                              23222                                ....                          8907.92
:        1      n11'~ 'f!A~ i:nA riA'~v~.J~A=RO=A=----r-· · ·~-~~~.--------~~~00:00° P                                                                                      !22l:!l:!3                           O?o?.01:1
·,       B 08119 ~SEARS                                       ---+--+--+--l-----'--l--+----l!~~906-=-:.56~:BK=--+------'-c:..;..::.:38~,;;,7_t~~~~~:~~~~:7,.::...8;;;;0~1-=.~36~
                               ·-"'---------1---1----t-·····-..J----l----l---;..._.......::::::;:.:;~c...:_1---·-                                                                                                7351 36
         8 08/08.RAYGoMEZ                                                      !                                                              '      450.00 E_           _L_ _1_02_5__,_____-+--~""'··,..,,·='
         8 08/08 JQE:Ui.RRICA                                                  ,                                                              ;        30.00      P           2360                               7321.36
         s      08/()8 l.AM;o.:;r;.:·Fi::,,:U~c·:.:::K:;.,,B~i:t~O~K=e=R-1--...;.....,f----',--+-~--_r-_.-.-+---+---·.f..:-=QO!\;;.;.;;.,·m=.,+1==--+--...;;;2"'-aJl9'-:.-x+----+----8llif.;,.2,;..1."'98""
         8 08108 JESUS QEHOY::_.:_::S::...:--+--+-~--:-l--1.--+____,. -.t------"----'--+---+-! -- ·~45"-o_:oo_··.,...E_4_ _2_~~ j                                                        -·~---l---'59;..;;..;....71=.36:.;::_

        :a 08108 N:J


         8
         8
           08I08        LOPEZ
           08l08 NEW LEAF HOMES
                                        .                                      I

                                                                                                   100.00 p
                                                                                                   600.00 cot.
                                                                                                                        2386
                                                                                                                                              !        36.00 P

                ~= ~M~~ . . . ·+---1-----1'-··=~====~==~===--+-·--.:::l-·-_,-?z.;~ m~o~ -. : .0 ~.~~~~~;;_;:::=:=2~2"";8~86;5.;...\--'· ::::._--+---c:~~~='-':i:~·
                         scorrv                                                                                                                          2835.36
                                                                                                                        2.~38=.,,l6,........._ _--J_ _ _ _
                                                                                                                                                         22'"'.3"""5.=36-=-1
                                                                                                                                                                              2384 i                     .. _     5935.36




         8 08/08 OYE ENTERPRISES                                                                  1912.50 SUR        --2388'                                322.86
         s o&amp;Jos E2 bRIVE                                      ···   ~--1---+-----+---&lt;---,----+~ -=-309~.eo~s""u"'='R+----'2::::3:7as=+------t--"""""13"",2~0•
         tl     U1111Jt1 l)IJl..11:'. UIL                                                                                        i                  4WIJ.00.       0          2390                               -3986,80
         8      08/08. CORTEZWASTE                                                                                                                    190:00 FM               2391  4176.80
     l--.::..\-~~~~=-~:::.:.:::..:__-4--+~-+--t--+--+---+----if--....:..:;~;;+..2f-----c~:i.-l-- ---l-------'--~                                        ..
     1--..::.8-i-,,08~I08~~C~PS-----"··--+---+--+ __.j.___-l--+--~··-·-+----+--18_.4=24-=-FM.,.....-i- __2_3_92_,__ _ _..__ -4195.22
         s OtWS 1NGRAM
      -·-o '0011b ALDCf\TMC~OOOQ C· --l----l-----4---.-            ... --
                                                                                                        344.00 co~
                                                                                                      11:lb.UU.f'
                                                                                                                                        239.3
                                                                                                                                        Lc'IH4
                                                                                                                                                                          ___ . -4539. 22
                                                                                                                                                                                    •;oJUU't,.£.£

         8 08115 FREOSEEHAU$EN m2 4D.OO 14.0Q 580.00          90          ... =36~:0~0+---1-....:.;.434::;::.:.;.00::;.+;·P~1-----;239~5;+·---- ... --+---"-e'"'=o9="s:.:.::.2:.:;.,2
         8 08/15 PG                                         ,               -36:0Q. ··---1---=3:.::s...:..O.::.too.oo                                                                       2::0.aa r               20!»                               :oao4.ff
           8 08/15 VALDEMEijE LERMArn-14().00 19.00 760.00                                                 85·                                  675'00 P               2399                     -765922
     f--8.,._. .~os~11~5+t.o,....._~UIS~LE=RMA=""o---~·---+4""'0~.00==..+11=s=.oo'::-+-:640:=-,oo=+-=a-=-or----+-.. --i---+---'4:.:.70.:;;;:o·o~"=p~1--___;;2;c_:4,.::...oo=-+-- ·
              1-,                                                                                                                                                                               .s12s.2~
           8; 08115 VAL.DEMERE LERMAm~Ho.00;13.00 520.00                                                   50               ...-+-~-+--,-1-0.~00-i.....Ex-p-1----24...;,0::;_11---              ~823,9.22
           e: 08115 SCOTTY LOPEZ                                ?1 nn.1.tnn ?.!WOO                         #                                    61l0.00 p              $4(]!:1  - - - - - 1 - -..a_.a10.:i:i
           8: 08115 GUZMAN PAVING                                        '                                                                     2000.00 PAV             2403.                   -111819.~2
           8~ 08115 GUZMAN PAVING                                                                                                              5235.00 PAV             2404                    -16054.22
     f---8+-·0S122 FRED SE;_t;HAUSEN m2 40.00 14Jl0 560.00                                                 90....         36.00                 4.34.00 P             ·2405                    -16438.22
           8 08122 "''"""" 1 o""""                                                                                       -36.00 ···-'---511-'-o-o"-o1-P- ·-----,=.:.._c::.rrT"-l--- -+--~.1=7flRA=-=,?
     : 8 08/22. VALQEMAR LERMAEX--P-+,s-2-.o-0+1~6-.50-+-5-2B-:OD                          .........._~5(}..,...._ __ . 1-="'-"'"-1----l-:-""'11'"'0'-'-.oo=+p-+--=2408 - - - - + - - :17178.22
           8 08/22 VALDEMAR .LERMA                                5.00 20.00·100,00                                                             675.00 IP              2409. ·                 -17853:22
         8          os/22 lowLERMA             ·· ·· ··     40.00 1900 100.00                        85                  _ _.__---+--=2:.:;a·2='-.oo=.:::.i..;...P---+---=2:.=41'f.i.-._--~---1-a1-':i-.s.~22.,.-j
         a QBJ22 Jos.uha $M!Ve. m.e                         40.00 16.. .; .00c;:.i. ;S40,.=. .: . :.oo'=-''". '".-...;;00.;...1-----J,--.. . . --~L...-CtfL..·oo., PE.24i2                          -18613,22 ~
         6          Olllii!ZSt't:eiALIYIKAILt:K~            24.UIJll:li.uulJ12.00                                     JO                                   ""·vu                 2413                           ·18732.22'
         8 08122 ACf                                                   14.00                           - ---+-_-_-_-
                                                                                                                  -1902-""f.95                       295.73 PLS-                 2414
                    08/29 ALPHATESTING                                                                            .20476.08                         1448.1:J TES                 2415
                                 - - - - - + - - - ---+----+--.......,---+---1------'---~1----L---'----·-+------l
                    08.129 ASCO                                                  387.90 E   2416                  -20043.98
                    00/l&amp; CONTJNEHT"h. a.ATTl:.RI 0 ~ ,.. ---J--+------·         ii!4u,oo t :t41] . JiiOOU.uu       01no.U---+----=ce5=='7:--::,16 W                                                            2459                                  17511.45!
1----+-1""110..;.1~AM--=E..;_R1'--CA~N~.s,..,1GN~AL====-::===-:===:---1,...                                                  2400~00 slGr ··              ·=2~460~-----~1=11::...,1-,-1.~45='1
                                                                              ·~-+---+---.-~--564~..-=-3.-=51,.-t;T~AX=.t-- ·-2·=4=5;
        11101 IRS
        11/01 IRS
                     ----
                                                                                                8~.19 TAXi
                                                                                                                            11.a7.94 i
                                                                                                                             2663.75'
                                                                                                                                2462
                                                                                                                                               1
        11/01 CAPITOL ONE                                  l                         1441.40 EXP
1----1-~1',,-110~.1"-+=B~K--~------+---+--+--1-----+- ----- t-· -· ·-·---.--~~12=2~3~,3=1+,B;;,.K:;,_+,
                                                                                                            2463              ~22u1 \
                                                                                                      1 -~24..,.;64~---+--- --- o.ool

         11101                                                                                                                                 i            2465                                            0.00 i
         I 11111                                                                                                                        tJ     t          . i4titi                                           IJ'.W
l---+~1-==1101~f---------·-+~-_-~_,,__ _,___ _,__---I-----. ·-------·"···--_,___ ____,'"=p-1----2=~=5=7+-----+---·                                                                                          -o.oo
     11/01                                                                    322318:37          ·=E=R=R+1~4~01~2=5~.76-=-1---.......,,;;,,~

                                                                                                                                                                                    C:f'ltR
f---t----+--------1'---+--+---+--- :._·a"'"~~l=§·,1;,~""'.AL,----\---__.,.1604=-c""'t6,..,,;09=+---l··--· ..-- ...

                                                                                      BK                                    21904.70
                                       ·--t---l----1f--_,....-f---¥.H:;IO:;,.L-+-----l-----c;6oo:f1 :20·=-=-i--1----___,1-----+
                                                                                      SAV                                  -20000.00
                       -------+---!-~--- . -···-· -+----1-Tc..:;Oc..:.T'-'1--.Al-=--N,.:,,GO=~E=--_.;,.;160~1945.90
1---+----J1----------+---+---1---l----l-'...T0.:::.11'.:.;'·A..:;:..cCA::;,,
                                                                          ...:.::S:;,H.:....                               322361.99 -
,___,___ -+----------t----l--+---1-----l~SGPE!;;!N~•T~.-                                                               I   322318.37
                                                             ·-+----11---+;:BALAN~·~·         1•
                                                                                   ±l~GE·~~--l--~ ·--44~.64=·+--------
                                                                              CHEQK BOOK ······- .3223!1!~3? ·-·                                                         t-·-·-· .                       ----i
1---r---t---------t--+---+-,.--+----+=BA=-~=·LAH
                                              :..:i-:-:C=-=E=--.+i__ ..,.__;~---l-~---·i-··                                                                                          ·-+-----'
                                                                                                                                                                                                                     I

                                                   '            :                                                                                                                                                     i
1--+--.J.--======n~~g:t==~ SPEftl- ;                                                                                                               c                     it         JLR
                                                                                                                                                                              ----+:.=.::--
t-~-+--l--------+--+--+--+--J::P~'A~Y~Rg;;DL~L~k--1--.:,.;;71221.46 C ; 7122f46....,.--
                                                                        ·-+---i~CO~t::.=iw...:.:TRUC=:.:T:.i,:O::.:N.:.__1_...:1~5Wf:36 C          · 15171.36
1---t----+------·-=-~~1=_~~~"=-~~:~-=-                                                TAX
                                                                                      tl.IUI'   Mt.NI
                                                                                                                            18595.89 C
                                                                                                                            ;ucnt&gt;.l)O/\.,             .;JJO    :.&gt;.oo
                                                                                       OFF3031.89 C
                                                  --+---+----+- ·-+~B;::K~=---+----1._-.._··~9oo~.0~0::. C -+,,__,,.--+-----1--
                                                                                       WA:TI R                               2597;6f)"C                 2597'66                                  --~

                                                                                      JLR                                   43315'.63 JLR                    =-i----+--_4_33_15.:63
                                                                                      I~        FEES                         1001.00'C .,               10if1:00
                                                       ,,.____,,_ _ ___,_.c.,;;..o,,c:·N,;'C        .                        1042.15iC                  7()42.15
                                                                                      J=ti;;:L'r Mii.it.i -                    MQ.00. C                  4A0:00.+-----11----·-
l---+---t------..,..-----l---+---l-----'---l.f:....':E~N~CE ."-'.. ....---+---2~115~7-.80--C-·_.__.265i60
                                                                                      !~~        .                          =~:~~,~~                                          1_4.=c56=-7..c:.7...:.0+-___ ,, __ _
                   -·--------+-...,.,t--+--+--..:.,'·1~rc - - - - -
                                                                                       OONI TRVOT ON                       f&amp;2860.TO ·

1----+--___,1-----~-......._--t---+--+---+-~~'Nc=S.::..:U=-·+--tAN-'Gc=:E-J.c... -~---'-=1"9~32"'_4..,9_..i_-1------l----+--
l---t----11---------+---J.--' '"-· .                         ' JR
                                                               tAX . · -· - ___' ,__.,,..,35380==·
                                                                                       43315.63                              -------
                                                                                             =·,57==..-.--+------1----+--..- - - -



 1---~·-- 1-----··-----·-·----                                   ... -·--&lt;-----11--EN_.Gc:;.:-+------r------·1- 3816.75
                                                                                       OFF
                                                                                                              .TOTAL .322363.01                    '. 182880.75! 35380-67                             43315.63
                                                                                                          , l . . -.l. 322~:1()1             . l . . ...l. - --·-··-~
